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                (xxvii) if an event occurs which, under the terms of this Agreement or any
other Loan Document, which by such terms is deemed to constitute an “Event of Default” under
such Loan Document (subject to any applicable notice and cure periods set forth therein);

                   (xxviii) (i) any Guarantor fails in any material respect to perform or observe
any term, covenant or agreement in any of the Loan Documents to which it is a party; or (ii) any
Loan Document is for any reason revoked or invalidated, in whole or in any part (including with
respect to future advances), or otherwise ceases to be in full force and effect; or (iii) any
Borrower Party contests in any manner the validity or enforceability of any Loan Document to
which it is a party or denies that it has any further liability or obligation thereunder; or

                       (xxix)     if Borrower is in breach of the Lien Obligations.

                 Section 7.2          Remedies.

                (a)    Upon the occurrence of any Event of Default beyond any applicable notice
and cure periods, Lender may take such action, without notice (but subject to any notices to be
delivered in connection with an Event of Default as otherwise specified in this Agreement),
demand, presentment, protest or other requirements of any kind (all of which are expressly
waived by Borrower), as Lender deems advisable to protect and enforce its rights and remedies
against Borrower or any of them and/or any Borrower Party and in and to the Property or any
part thereof, including the following actions, each of which may be pursued concurrently or
otherwise, at such time and in such order as Lender may determine, in its discretion, without
impairing or otherwise affecting the other rights and remedies of Lender:

                           (i)        declare the entire Debt to be immediately due and payable;

                       (ii) exercise any of the rights or remedies specified in Article X of any
of the Security Instruments or any other provision of any of the Security Instruments;

                      (iii) apply any sums then deposited with Lender or with any Servicer or
other third party under the control of Lender and any other sums held in escrow or otherwise by
Lender, including the Reserves, in accordance with the terms of this Agreement or any other
Loan Document to the payment of the following items in any order in Lender’s discretion:
(A) Taxes and Other Charges; (B) Insurance Premiums; (C) interest on the unpaid principal
balance of the Notes; (D) amortization of the unpaid principal balance of the Notes; and (E) all
other sums payable pursuant to the Notes, this Agreement and the other Loan Documents,
including advances made by Lender pursuant to the terms of this Agreement;
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                     ‘ (iv)   pursue such other rights and remedies as may be available at law or
in equity or under the Uniform Commercial Code including the right to receive and/or establish a
lock box for all Rents, proceeds from the Intangibles (as defined in the Security Instruments) and
any other receivables or rights to payments of Borrower relating to the Property;

                        (v) with or without actual or threatene’d’wasteto the Property, Lender
shall, at Lender’s discretion, be entitled, and is hereby expressly and irrevocably authorized,
upon application to a court of competent jurisdiction, without notice to Borrower,+orany other
party (any and all such notice being waived hereby) and without regard to the adequacy of any


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security for the Debt or the solvency of Borrower or any other party liable for payment of the
Debt, to appoint a receiver(s), on an emergency basis or otherwise (and if allowed by applicable
law, on an ex parte basis), to take possession of and to operate the Property or any portion
thereof, and at Lender’s option, to collect the Rents. Borrower irrevocably waives all notice of
and defenses and objections to the appointment of such receiver. Borrower further irrevocably
agrees that the occurrence of any Event of Default per se would create an emergency and the
necessity for immediate actions; and

                          (vi)        pursue any other right or remedy allowed by any Loan Document or
applicable law.

                 (b)     Upon the occurrence and during the continuance of an Event of Default,
interest on the outstanding principal balance of the Loan and, to the extent permitted by law,
overdue interest and other amounts due in respect of the Loan, shall accrue at the Default Rate, .
calculated from the date such payment was due without regard to any grace or cure periods
contained herein. Interest at the Default Rate shall be computed from the occurrence of the
Event of Default until the actual receipt and collection of the Debt (or that portion thereof that is
then due). To the extent permitted by applicable law, interest at the Default Rate shall be added
to the Debt, shall itself accrue interest at the same rate as the Loan and shall be secured by the
Security Instruments. This paragraph shall not be construed as an agreement or privilege to
extend the date of the payment of the Debt, nor as a waiver of any other right or remedy accruing
to Lender by reason of the occurrence of any Event of Default; the acceptance of any payment of
by Lender shall not be deemed to cure or constitute a waiver of any Event of Default; and Lender
retains its rights under this Agreement and the other Loan Documents to accelerate and to
continue to demand payment of the Debt upon the happening of any Event of Default, despite
any payments made to Lender after the occurrence of such Event of Default.

                (c)     Lender may resort to any remedies and the security given by any of the
Loan Documents in whole or in part, and in such portions and in such order as determined by
Lender in its discretion. No such action shall in any way be considered a waiver of any rights,
benefits or remedies evidenced or provided by the Notes, the Security Instruments or any of the
other Loan Documents. The failure of Lender to exercise any right, remedy or option provided
in any of the Loan Documents shall not be deemed a waiver of such right, remedy or option or of
any covenant or obligation secured by the Notes, the Security Instruments or the other Loan
Documents. No acceptance by Lender of any payment after the occurrence of any Event of
Default and no payment by Lender of any obligation for which Borrower is are liable hereunder
shall be deemed to waive or cure any Event of Default, or Borrower’s liability to pay such
obligation. No sale of all or any portion of the Property, no forbearance on the part of Lender,
and no extension of time for the payment of the whole or any portion of the Debt or any other
indulgence given by Lender to Borrower, shall operate to release or in any manner affect the
interest of Lender in the remaining Property or the liability of Borrower to pay the Debt. No
waiver by Lender shall be effective unless it is in writing signed by Lender and then only to the
extent specifically stated.

               (d)      With respect to Borrower and the Property, nothing contained herein or in
any other Loan Document shall be construed as requiring Lender to resort to the Property or any
portion thereof for the satisfaction of any of the Debt, and Lender may seek satisfaction out of


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the Property or any part thereof or decline to do so, in Lender’s discretion. In addition, Lender
shall have the right from time to time to partially foreclose any of the Security Instruments in any
manner and for any amounts secured by such Security Instrument then due and payable as
determined by Lender in Lender’s discretion including, without limitation, the following
circumstances: (i) in the event Borrower defaults beyond any applicable grace period in the
payment of one or more scheduled payments of principal and interest, Lender may foreclose the
Security Instruments or any of them to recover such delinquent payments, or (ii) in the event
Lender elects to accelerate less than the entire outstanding principal balance of the Loan, Lender
may foreclose the Security Instruments or any of them to recover so much of the principal
balance of the Loan as Lender may accelerate and such other sums secured by the Security
Instruments as Lender may elect. Notwithstanding one or more partial foreclosures, the Property
shall remain subject to the Security Instruments to secure payment of sums secured by Security
Instruments and not previously recovered.

               (e)     Additionally, upon the occurrence of any Event of Default beyond any
applicable notice and cure periods or if any Borrower Party fails to make any payment or to do
any act as required in any of the Loan Documents, Lender may, but without any obligation to do
so and without notice to or demand on any Borrower Party and without releasing any Borrower
Party from any obligation under the Loan Documents, make or do the same in such manner and
to such extent as Lender may deem necessary to protect the security hereof. Lender is authorized
to enter upon the Property for such purposes or appear in, defend, or bring any action or
proceeding to protect its interest in-the Property or to foreclose the Loan Documents or collect
the Debt, and the cost and expense thereof (including reasonable attorneys’ fees and
disbursements to the extent permitted by law), with interest at the Default Rate (as defined in the
Note) for the period after notice from Lender that such cost or expense was incurred to the date
of payment to Lender, shall constitute a portion of the Debt, shall be secured by the Loan
Documents and shall be due and payable to Lender upon demand.

               (f)    No delay or omission to exercise any remedy, right or power accruing
upon an Event of Default, or the granting of any indulgence or compromise by Lender shall
impair any such remedy, right or power hereunder or be construed as a waiver thereof, but any
such remedy, right or power may be exercised from time to time and as often as may be deemed
expedient. A waiver of one Default or Event of Default shall not be construed to be a waiver of
any subsequent Default or Event of Default or to impair any remedy, right or power of Lender.
Notwithstanding any other provision of this Agreement, Lender reserves the right to seek a
deficiency judgment or preserve a deficiency claim in connection with the foreclosure of the
Security Instruments to the extent necessary to foreclose on all or any portion of the Property, the
Rents or any other collateral.

                Section 7.3 Right of Entry. In addition to any other rights or remedies
granted under this Agreement, Lender and its agents shall have the right to enter and inspect the
Property at any reasonable time during the term of the Loan. The cost of such inspections or
audits, including the cost of all follow up or additional investigations or inquiries deemed
reasonably necessary by Lender, shall be borne by Borrower. The cost of such inspections, if not
paid for by Borrower following demand, may, at Lender’s option, be added to the principal
balance of the sums due under the Notes and shall bear interest thereafter until paid at the
Default Rate.

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                   . Section 7.4 Costs of Enforcement. In the event of the (i) exercise of any
    remedy by Lender under this Agreement or the other Loan Documents or following the
    occurrence of an Event of Default, (ii) foreclosure of any mortgage prior to or subsequent to a
    Security Instrument in which proceeding Lender is made a party, (iii) bankruptcy, insolvency,
    reorganization, rehabilitation, liquidation or other similar proceeding in respect of any Borrower
    Party or an assignment by any Borrower Party for the benefit of its creditors, (iv) enforcement of
    any obligations of or collection of any payments due from any Borrower Party under this
    Agreement, the other Loan Documents or with respect to the Property, or (v) incurring of any
    costs or expenses by Lender in connection with any refinancing or restructuring of the credit
    arrangements provided under this Agreement in the nature of a “work-out”, then Borrower, its
    successors or assigns, shall pay to Lender on demand any and all reasonable expenses, including
    legal expenses and attorneys’ fees, incurred or paid by Lender in protecting Lender’s interest in
    the Property or in collecting any amount payable hereunder or in enforcing Lender’s rights        ,

    hereunder with respect to the Property, whether or not any legal proceeding is commenced
    hereunder or thereunder and whether or not any Default or Event of Default shall have occurred
    and is continuing, together with interest thereon at the Default Rate from the date paid or
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    incurred by Lender until such expenses are paid by Borrower; provided, however, that Borrower
    shall not be liable for the payment of any such costs and expenses to the extent the same arise by
    reason of the gross negligence or willful misconduct of Lender. Without limiting the generality
    of the foregoing, Borrower agrees that if an’Event of Default is continuing (i) to the maximum
    extent allowed by law, Lender is not subject to any “one action” or “election of remedies” law or
    rule, and (ii) all Liens and other rights, remedies or privileges provided to Lender shall remain in
    full force and effect until Lender has exhausted all of Lender’s remedies against the Property and
    the Security Instruments have been foreclosed, sold and/or otherwise realized upon in
    satisfaction of the Debt or the Debt has been paid in full.

                   Section 7.5 Violation of Legal Requirements. If the Property is not in
    compliance with one, some or all of any material Legal Requirements, Lender may reasonably
    impose additional requirements upon the Borrower in connection therewith including, without
    limitation, monetary reserves or financial equivalents.

                    Section 7.6 Remedies Cumulative. The rights, powers and remedies of
    Lender under this Agreement and the other Loan Documents shall be cumulative and not
    exclusive of any other right, power or remedy which Lender may have against Borrower or any
    of the Borrower Parties pursuant to this Agreement or the other Loan Documents, or existing at
    law or in equity or otherwise-. Lender’s rights, powers and remedies may be pursued singly,
    concurrently or otherwise, at such time and in such order as Lender may determine in Lender’s
    discretion. No delay or omission to exercise any remedy, right or power accruing upon an Event
    of Default shall impair any such remedy, right or power or shall be construed as a waiver thereof,
    but any such remedy, right or power may be exercised from time to time and as often as may be
    deemed expedient. A waiver of one Default or Event of Default with respect to Borrower shall
    not be construed to be a waiver of any subsequent Default or Event of Default by Borrower or to
    impair any remedy, right or power consequent thereon. Any and all amounts collected or
    retained by Lender after an Event of Default has occurred, including interest at the Default Rate,
    late charges or any escrowed amount, may be applied by Lender to payment of the Debt in any
    order or priority that Lender in its discretion may elect.



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           VIII SECONDARY MARKET TRANSACTIONS AND CO-LENDING
                 Section 8.1          Generally.

                 Section 8.1.1 Sale of Notes and Securitization. Lender may, without the
consent of Borrower or any other Person, at any time, sell, transfer or assign the Notes, the
Security Instruments and the other Loan Documents, and any or all servicing rights with respect
thereto, or grant participations therein (the “Participations”) or issue mortgage pass-through
certificates or other securities (“Securities”) evidencing a beneficial interest in a rated or unrated
public offering or private placement (a “Securitization”), in all cases, with or without novation.
Lender may forward to each potential purchaser, transferee, assignee, servicer or investor in any
Participations, Securitizations or Secondary Market Transaction (collectively, an “Investor”) or
any Rating Agency rating any Securities and any organization maintaining databases on the
underwriting and performance of commercial mortgage loans, all documents and information
which Lender now has or may hereafter acquire relating to the Debt and to Borrower, any
Borrower Party, and the Property, whether furnished by Borrower, any Borrower Party or
otherwise, as Lender determines necessary or desirable. Lender may also disclose to such parties
any lending relationship in addition to the Debt which Lender may have with Borrower and/or
any Borrower Party and/or any of their Affiliates. Borrower, on behalf of itself and all Borrower
Parties, irrevocably waive any and all rights they may have under applicable state or federal law
to prohibit such disclosure, including but not limited to any right of privacy.

                Section 8.1.2 Cooperation. Borrower agrees that the Loan Documents shall be
sufficient evidence of the obligations of Borrower to each Investor, and Borrower further agrees
to reasonably cooperate with Lender in connection with any sale, assignment, conveyance,
alienation or pledge or other transfer made or any Securities created pursuant to this Section,
including the delivery of an estoppel certificate required in accordance with Section 5.14 and
such other documents as may be reasonably requested by Lender (provided that any such
document shall not increase in any material respect the obligations of Borrower under the Loan
Documents). In furtherance of the foregoing, Borrower shall (i) reasonably cooperate with
Lender so that the Lender may perform or cause to be performed, at Lender’s sole expense, such
site inspections, appraisals, market studies, environmental reviews and reports (Phase I and, if
appropriate, Phase II), engineering reports and other due diligence investigations of the Property,
as required by Lender or as may be requested by the Rating Agencies in connection with a
Securitization; (ii) cause counsel to render any Non-Consolidation Opinions requested by the
Rating Agencies (which may be relied upon by an Investor and the Rating Agencies and their
respective counsel) and cause counsel to render or update any other opinions (which may be
relied upon by an Investor and the Rating Agencies and their respective counsel) customary in a
securitized transaction, which counsel and opinions shall be in substantially the same form and
substance as those delivered on the Closing Date or otherwise satisfactory to Lender, the Investor
and the Rating Agencies, with such modifications as may be reasonably requested by the Rating
Agencies; (iii) furnish and the Borrower, on behalf of itself and all Borrower Parties, consent to
Lender furnishing to such Investors or such prospective Investors or such Rating Agency any and
all information concerning the Property, the Leases, if any, the financial condition of Borrower
and any Borrower Party as may be reasonably requested by Lender, any Investor, any
prospective Investor or any Rating Agency in connection with any sale or transfer of
Participations or Securities; (iv) make such representations and warranties as of the closing of


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    any securitization with respect to the Property, Borrower any Borrower Party and the Loan
    Documents as are customarily provided in securitization transactions and as may be requested by
    any Investor or the Rating Agencies, provided, that making such representations and warranties
    shall not increase Borrower’s obligations under the Loan Documents in any material respect; (v)
    execute such amendments to the Loan Documents and Organizational Documents of Borrower or
    Borrower’s direct or indirect members or partners as may be reasonably requested by the Lender
    or desired by the Rating Agencies or otherwise to effect the Securitization (provided that any
    such amendment shall not increase in any material respect the obligations of Borrower under the
    Loan Documents); (vi) have appropriate representatives available for Investor meetings and/or
    tours of the Property upon reasonable notice, (vii) execute documentation reasonably acceptable
    to Lender and its counsel which establishes a loan agency role (which Agent may be any holder
    of the Loan) and the right to assign direct interests in the Loan to a syndicate of lenders
    (provided that it does not increase Borrower’s obligations under the Loan) and (viii) the ability to
    tranche the Loan into senior and subordinate claims (each claim to be evidenced by separate
    notes payable to each syndicate member in the amount of each member’s portion of such claim).
    Lender may forward to each Investor or any Rating Agency rating any Securities, each
    prospective Investor, and any organization maintaining databases on the underwriting and
    performance of commercial mortgage loans, all documents and information which Lender now
    has or may hereafter acquire relating to the Loan or to Borrower, to any Borrower Party, or to the
    Property.

                     Section 8.1.3 Secondary Market Transaction Indemnification. It is
    understood that the information provided by, or on behalf of, Borrower or any Borrower Party to
    Lender in connection with the Loan or subsequent to the date hereof which is delivered in
    connection with any Loan Document may ultimately be incorporated into the offering documents
    for a Secondary Market Transaction and thus various Investors may also see some or all of such
    information. Lender and all of the aforesaid third-party advisors and professional firms shall be
    entitled to rely on the information supplied by, or on behalf of, Borrower and Borrower shall
    indemnify Lender as to any losses, claims, damages or liabilities that arise out of or are based
    upon any untrue statement or alleged untrue statement of any material fact contained in such
*   information or arise out of or are based upon the omission or alleged omission to state therein a
    material fact required to be stated in such information or necessary in order to make the
    statements in such information, or in light of the circumstances under which they were made, not
    misleading. Lender may publicize the existence of the Loan in connection with its marketing for
    a Secondary Market Transaction or otherwise as part of its business development.

                    Section 8.1.4 Splitting the Loan. Lender shall have the right from time to time
    to sever each Note and the other Loan Documents into one or more separate notes (including
    multiple component notes or tranches which may have different interest rates, amortization
    payments, principal amounts and maturities, or resulting in a first or second lien, or resulting in
    priority of the mortgages of the Loan being recast, mortgages and other security documents or
    recasting a portion of the Loan into one or more mezzanine loans which shall be made to one or
    more newly created bankruptcy remote single purpose entities that own 100% of the direct or
    indirect ownership interests in Borrower, which will be secured by, among other things, a pledge
    of such ownership interests (the “Severed Loan Documents”)) in such denominations and
    priorities as Lender shall determine in its discretion for purposes of evidencing and enforcing its
    rights and remedies provided hereunder (and such new notes or modified note shall have the


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same initial weighted average coupon as the original note (assuming a full funding of the
Loan)(but such new notes or modified note may subsequently change the weighted average
coupon (or such weighted average coupon may change as a result of changes in interest rates
generally) and apply principal, interest rates and amortization of the Loan between the
components in a manner specified by Lender in its discretion)); provided, however, that except
as set forth in the previous parenthetical, that the terms, provisions and clauses of the Severed
Loan Documents shall be no more adverse to Borrower and/or Guarantor than those contained in
the Notes, this Agreement, the Security Instruments and the other Loan Documents. Borrower
shall cooperate with Lender to effectuate the same and shall execute and deliver to Lender from
time to time, promptly after the request of Lender, a severance agreement and such other
documents, modifications, amendments (provided that any such document, modification or
amendment shall not increase in any material respect the obligations of Borrower under the Loan
Documents), opinions’and title insurance as Lender shall request in order to affect the severance
described in the preceding sentence, all in form and substance reasonably satisfactory to Lender
such that the pricing and marketability of the Securities and the(size of each class of Securities
and the rating assigned to each such class by the Rating Agencies shall provide the most
favorable rating levels and achieve the optimum bond execution for the Loan. In the event of
any prepayment of the Loan, Lender shall be entitled to apply the amount of such prepayment to
one or more of the new component notes as Lender in its discretion decides (including, without
limitation, the right to apply principal sequentially starting with the most senior part, note,
component or loan). Borrower hereby absolutely and irrevocably appoints Lender as Borrower’s
true and lawful attorney, coupled with an interest, in Borrower’s name and stead to make and
execute all documents necessary or desirable to effect the aforesaid severance, Borrower
ratifying all that its said attorney shall do by virtue thereof. Borrower hereby acknowledges and
agrees that Borrower shall have no claim or cause of action against Lender arising out of      I




Lender’s execution and/or recordation of any instruments by or on behalf of Borrower pursuant
to the foregoing power of attorney.

                 Section 8.2 Co-Lending. -The provisions of this Section 8.2 shall apply in the
event the Lendeyelects to syndicate the Loan in accordance with the provisions of this
Section 8.2, it being agreed that Lender may elect to modify (or substitute these provisions in
their entirety) in its discretion.

                  Section 8.2.1 Assignments and Participations.

                (a)    Each Lender shall have the right to assign, transfer, sell, negotiate, pledge
or otherwise hypothecate t h s Agreement,and any of its rights and security hereunder and under
the other Loan Documents to any other Person (an “Assignee”) as specified in the Syndication
Documents or with the prior written consent of the administrative agent for the Loan (the
“Agent”) which Agent shall be appointed by Lehman (and which may in Lehman’s discretion,
be Lehman or any other Person). Any such consent by the Agent may be withheld as specified
in the Syndication Documents. The Agent may designate any Assignee accepting an assignment
of a specified portion of the Loan to be a “Co-Agent”, an “Arranger” or similar title, but such
designation shall not confer on such Assignee the rights or duties of the Agent, unless so
specified in the Syndication Documents. Upon the execution, delivery, approval (if required),
and acceptance, and upon the effective date specified in, the applicable assignment and
assumption agreement from the assigning Lender to the Assignee (the “Assignment and


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Assumption Agreement”), (a) the Assignee thereunder shall be a party hereto and, to the extent
that rights and obligations hereunder have been assigned to it pursuant to such Assignment and
Assumption Agreement, have the rights and obligations of a Lender hereunder and under the
other Loan Documents, and Borrower hereby agrees that all of the rights and remedies of Lender
in connection with the interest so assigned shall be enforceable against Borrower by an Assignee
with the same force and effect and to the same extent as the same would have been enforceable
but for such assignment, and (b) the assigning Lender thereunder shall, to the extent that rights
and obligations hereunder and under the other Loan Documents have been assigned by it
pursuant to such Assignment and Assumption Agreement, relinquish its rights and be released
from its obligations hereunder and thereunder.

                (b)     By executing and delivering an Assignment and Assumption Agreement,
the assigning Lender thereunder and the Assignee thereunder confirm to and agree with each
other and the other parties hereto that except as otherwise provided for in the Assignment and
Assumption Agreement, (i) such assigning Lender makes no representation or warranty and
assumes no responsibility with respect to any statements, warranties or representations made in
or in connection with this Agreement or any other Loan Document or the execution, legality,
validity, enforceability, genuineness, sufficiency or value of this Agreement or any other Loan
Document or any other instrument or document furnished in connection therewith; (ii) such
assigning Lender makes no representation or warranty and assumes no responsibility with
respect to the financial condition of the Borrower, the Guarantor or any other Person or the
performance or observance by the Borrower, the Guarantor or any other Person of any of their
obligations under any Loan Document or any other instrument or document furnished in
connection therewith; (iii) such Assignee confirms that it has received a copy of this Agreement
together with such financial statements, Loan Documents and other documents and information
as it has deemed appropriate to make its own credit analysis and decision to enter into the
Assignment and Assumption Agreement and to become a Lender hereunder; (iv) such Assignee
will, independently and without reliance upon Agent, the assigning Lender or any other Lender,
and based on such documents and information as it shall deem appropriate at the time, continue
to make its own credit decisions in taking or not taking action under this Agreement; (v) such
Assignee appoints and authorizes the Agent to take such action as the Agent on its behalf and to
exercise such powers under this Agreement and the other Loan Documents as are delegated to
Agent by the terms hereof and thereof, together with such powers as are reasonably incidental
thereto; and (vi) such Assignee agrees that it will perform in accordance with their terms all of
the obligations which by the terms of this Agreement and the other Loan Documents are required
to be performed by it as a Lender.

               (c)    Agent shall maintain a copy of each Assignment and Assumption
Agreement delivered to and accepted by it and shall record in its records the names and
addresses of each Lender and the Committed Amount of, and Percentage of the Loan owing to,
such Lender from time to time. Borrower, the Agent and Lenders may treat each entity whose
name is so recorded as a Lender hereunder for all purposes of this Agreement.
                                                                          i



              (d)    Upon receipt of an Assignment and Assumption Agreement executed by
an assigning Lender and an Assignee, Agent shall, if such Assignment and Assumption
Agreement has been properly completed and consented to if required herein, accept such -,
Assignment and Assumption Agreement, and record the information contained therein in its


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    records, and the Agent shall use its commercially reasonable efforts to give prompt notice
    thereof to Borrower. (provided that neither the Agent nor the Lenders shall be liable for any
    failure to give such notice).

                    (e)     Borrower shall use reasonable efforts to cooperate with Agent and each           ,
    Lender in connection with the assignment of interests under this Agreement or the sale of
    participations herein, including, but not limited to, the payment of any and all legal, title and
    other fees and costs of the Agent in connection with such assignment up to an aggregate amount
    of $25,000. Borrower shall also be responsible for any and all legal, title or other fees and costs
    of any other Lender in connection with the assignment of such Lender’s interests in this
    Agreement.

                      (f)  Anything in this Agreement to the contrary notwithstanding, and without
    the need of consent or to comply with any of the formal or procedural requirements of this
    Agreement,.including this Article VIII, any Lender may at any time and from time to time pledge
    and assign all or any portion of its rights under all or any of the Loan Documents as permitted by
    the Syndication Documents; provided that no such pledge or assignment shall release such
    Lender from its obligations hereunder.

                     (g)    Unless otherwise provided in the Syndication Documents, each Lender
    shall have the right, without the consent of the Borrower, to sell participations to one or more
    other Lenders (a “Participant”) in or to all or a portion of its rights and obligations under the
    Loan and the Loan Documents; provided, however, that (i) such Lender shall remain solely
    responsible to the other parties hereto for the pekormance of its obligations under this
    Agreement, (ii) the Borrower, the Agent and the other Lenders shall continue to deal solely and
    directly with such Lender in connection with such Lender’s rights and obligations under this
    Agreement and with regard to any and all payments to be made under this Agreement, and
    (iii) the holder of any such participation shall not be entitled to voting rights under this
    Agreement or the other Loan Documents (but such holder may contract with the Lender selling
    such Participant its interest in such Lender’s share of the Loan as to voting of such Lender’s
    interest under Section 8.2.1, provided that any such agreement by a Lender shall bind only such
    Lender alone and not Borrower, the other Lenders or the Agent).

                      (h)    Borrower acknowledges and agrees that Lenders may provide to any
     Assignee or Participant originals or copies of this Agreement, any other Loan Document and any
     other documents, instruments, certificates, opinions, insurance policies, letters of credit, reports,
     requisitions and other materials and information of every nature or description, and may
     communicate all oral information, at any time submitted by or on behalf of Borrower or
     Guarantor or received by any Lender in connection with the Loan or with respect to Borrower,
     provided that prior to any such delivery or communication, such Assignees or Participants shall
     agree to preserve the confidentiality of any of the foregoing to the same extent that such Lender
     agreed to preserve such confidentiality. In order to facilitate assignments to Assignees and sales
     to Participants, Borrower shall execute such further documents, instruments or agreements as
.    Lenders may reasonably require; provided, that except as set forth in this Agreement, Borrower
     shall not be required to execute any document or agreement which would materially decrease
    \their rights, or materially increase their obligations, relative to those set forth in this Agreement




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or any of the other Loan Documents (including financial obligations, personal recourse,
representations and warranties and reporting requirements).

               Section 8.3 Several Liability. Anything in this Agreement contained to the .
contrary notwithstanding, the obligations of each Lender to Borrower under this Agreement are
several and not joint and several; each Lender shall only be obligated to fund its Percentage of
each disbursement to be made hereunder up to the amount of its Committed Amount.

                  Section 8.4         Appointment.

               Section 8.4;l Lehman and/or any other Person appointed as Agent by the
Syndication Documents is hereby appointed as Agent hereunder and under each other Loan
Document, and each Lender hereby authorizes the Agent to act as agent for Lender and to take
such actions as Lender is obligated or entitled to take under the provisions of this Agreement and
the other Loan Documents and to exercise such powers as are set forth herein or therein, together
with such other powers as are reasonably incidental thereto. Agent shall not have a fiduciary
relationship with respect to Borrower or any Lender by reason of this Agreement.

                Section 8.4.2 The provisions of this Article are solely for the benefit of the
Agent and the Lenders. Neither Borrower nor any Borrower Party shall have any rights to rely
on or enforce any of the provisions hereof except as provided in Section 8.5. In performing its
functions and duties under this Agreement, the Agent shall act solely as agent for the Lenders
and does not assume, and shall not be deemed to have assumed, any obligations toward or
relationship of agency or trust with or for Borrower or any Borrower Party.

                Section 8.5 Reliance on Agent. All acts of and communications by the Agent,
as agent for the Lenders, other than approvals, waivers or consents requiring the consent of all of
the Lenders or the Required Lenders pursuant to this Agreement or the Syndication Documents,
shall be deemed legally conclusive and binding; and Borrower and any third party (including any
court) shall rely on any and all communications or acts of the Agent with respect to the exercise
of any rights or the granting of any consent or approval on behalf of Lender in all circumstances
where an action by Lender is required or permitted pursuant to this Agreement or the provisions
of any other Loan Document or by applicable law without the right or necessity of making any
inquiry of any individual Lender as to the authority of Agent with respect to such matter. In no
event shall any of the foregoing limit the rights or obligations of any Lender with respect to any
other Lender pursuant to this Article VIII.

               Section 8.6 Powers. The Agent shall have and may exercise such powers
under the Loan Docum'ents or the Syndication Documents as are specifically delegated to the
Agent by the terms of each thereof, together with such powers as are reasonably incidental
thereto, and may exercise all other powers of Lender as are not made subject to the consent of
the Required Lenders or to the consent of all Lenders pursuant to Section 8.9. The Agent shall
not be considered, or be deemed, a separate agent of the Lenders hereunder, but is, and shall be
deemed, acting in its contractual capacity as Agent, exercising such rights and powers under the
Loan Documents and the Syndication Documents as are specifically delegated to the Agent or
Agent is otherwise entitled to take hereunder. Agent shall have no implied duties to the Lenders,



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or any obligation to the Lenders to take any action except any action specifically provided by the
Loan Documents or the Syndication Documents to be taken by the Agent.

                 Section 8.7          Disbursements.

                Section 8.7.1 Subject to the disbursement requirements set forth in this
Agreement, at least two (2) Business Days (by 11:OO a.m. Eastern Standard Time) prior to each
date a disbursement of the Loan is to be made hereunder pursuant to this Agreement, the Agent
shall notify each Lender of the proposed disbursement. Each Lender shall make available to the
Agent the amount of such Lender’s Percentage of such disbursement (with respect to such
Lender, such amount being referred to herein as a “Required Lender Advance”) in immediately
available funds not later than 11:00 a.m. (Eastern Standard Time) on the date such disbursement
is to be made (such date being referred to herein as a “Funding Date”) or as otherwise provided
in the Syndication Documents. Unless the Agent shall have been notified by any Lender prior to
such time for funding in respect of any Required Lender Advance that such Lender does not
intend to make available to the Agent such Lender’s Required Lender Advance, the Agent may
assume that such Lender has made such amount available to the Agent and the Agent, in its sole
discretion, may, but shall not be obligated to, make available to Borrower a corresponding
amount. If such corresponding amount is not in fact made available to the Agent by such Lender
on or prior to the respective Funding Date, such Lender agrees to pay and Borrower agree to
repay to Agent forthwith on demand such corresponding amount together with interest thereon,
for each day from the date such amount is made available to Borrower until the date such amount
is paid or repaid to Agent, at (A) in the case of such Lender, the federal funds effective rate, and
(B) in the case of Borrower, the interest rate applicable at the time to a disbursement made on
such Funding Date or as otherwise provided in the Syndication Documents. If such Lender shall
pay to Agent such corresponding amount, such amount so paid shall constitute such Lender’s
Required Lender Advance, and if such Lender and the Borrower shall have paid and repaid,
respectively, such corresponding amount, Agent shall promptly return to Borrower such
corresponding amount in same day funds.

                 Section 8.7.2 Requests by the Agent for funding by the Lenders of
disbursements of the Loan may be made by facsimile. Except as may be otherwise provided in.
the Syndication Documents, each Lender shall make its Required Lender Advance available to
the Agent in Dollars and in immediately available funds to such Lender and account as the Agent
may designate, not later than 11 a.m. (Eastern Standard Time) on the Funding Date. Nothing in
this Section 8.7 shall be deemed to relieve any Lender of its obligation hereunder to make any
Required Lender Advance on any Funding Date, nor shall any Lender be responsible for the
failure of any other Lender to perform its obligations to make any Required Lender Advance
hereunder, and the Committed Amount of any Lender shall not be increased or decreased as a
result of the failure by any other Lender to perform its obligation to make any Required Lender
Advances hereunder.

                Section 8.7.3 The Agent will forward to each Lender copies of each request for
advance made by Borrower by 11:00 a.m. (Eastern Standard Time) two (2) Business Days prior
to the date the Lender is required to fund its Percentage of any Required Lender Advance.
Delivery of the Request for Advance documents shall be a condition to funding any Required
Lender Advance.


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                  Section 8.8         Distribution and Apportionment of Payments.

                 Section 8.8.1 Subject to the terms of this Agreement, payments actually received
by Agent for the account of the Lenders shall be paid to them promptly after receipt thereof by
Agent, but in any event on or before the time specified in the Syndication Documents, or if no
such time is specified, within one (1) Business Day after Agent’s receipt thereof; provided that,
if any such payments are not distributed to the Lenders within such time period, Agent shall pay
to such Lenders interest thereon at the rate specified in the Syndication Documents, or if no such
rate is specified in the Syndication Documents, at the lesser of (i) the federal funds effective rate
and (ii) if the applicable payment represents repayment of a portion of the principal of the Loan,
the rate of interest applicable to such portion of the Loan, from the date of receipt of such funds
by Agent until such funds are paid in immediately available funds to such Lenders, provided
such funds are received by Agent not later than 11:00 a.m. (Eastern Standard Time) on the date
of receipt. All payments of principal and interest in respect of the Loan, all payments of the fees
described in this Agreement, and all payments in respect of any other obligations of Borrower
under the Loan Documents shall be allocated among such of Lenders as are entitled thereto in
accordance with the Syndication Documents. The Agent shall distribute to each Lender at its
primary address set forth herein or in its Assignment and Assumption Agreement, or at such
other address as a Lender may request in writing, such funds as it may be entitled to receive, -.
provided that the Agent shall in any event not be bound to inquire into or determine the validity,
scope or priority of any interest or entitlement of any Lender and may suspend all payments and
seek appropriate relief (including, without limitation, instructions from the Required Lenders, or
all Lenders, as applicable, or an action in the nature of interpleader) in the event of any doubt or
                                                                                                        .
dispute as to any apportionment or distribution contemplated hereby. The order of priority
herein and in the Syndication Documents is set forth solely to determine the rights and priorities
of the Lenders as among themselves and may at any time or from time to time be changed by the
Lenders as they may elect, in writing, without necessity of notice to or consent of or approval by
Borrower.

                Section 8.8.2 Except as otherwise provided in the Syndication Documents, if a
Lender (a “Defaulting Lender”) defaults in making any Required Lender Advance or paying
any other sum payable by it hereunder, such sum together with interest thereon at the rate
specified in the Syndication Documents, or if no such rate is specified at the Default Rate, from
the date such amount was due until repaid (such sum and interest thereon as aforesaid referred to,
collectively, as the “Lender Default Obligation”) shall be payable by the Defaulting Lender
(i) to any Lender(s) which elect, at their sole option (and with no obligation to do so), to fund the
amount which the Defaulting Lender failed to fund or (ii) to Agent or any other Lender which
under the terms of this Agreement is entitled to reimbursement from the Defaulting Lender for
the amounts advanced or expended. Notwithstanding any provision hereof to the contrary, but
except as otherwise provided in the Syndication Documents, until such time as a Defaulting
Lender has repaid the Lender Default Obligation in full, all amounts which would otherwise be
distributed to the Defaulting Lender shall instead be applied first to repay the Lender Default
Obligation (to be applied first to interest at the rate specified above and then to principal) until
the Lender Default Obligation has been repaid in full (whether by such application or by cure by
the Defaulting Lender), whereupon such Lender shall no longer be a Defaulting Lender. Any
interest collected from Borrower on account of principal advanced by any Lender(s) on behalf of
a Defaulting Lender shall be paid to the Lender(s) who made such advance and shall be credited


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    against the Defaulting Lender’s obligation to pay interest on the amount advanced at the rate
    specified above. Except as,otherwise provided in the Syndication Documents, if no other Lender
    makes an advance a Defaulting Lender failed to fund, a portion of the indebtedness of Borrower
    to the Defaulting Lender equal to the Lender Default Obligation shall be subordinated to the
    indebtedness of Borrower to all other Lenders and shall be paid only after the indebtedness of
    Borrower to all other Lenders is paid. The provisions of this Section shall apply and be effective
    regardless of whether an Event of Default occurs and is then continuing, and notwithstanding (i)
    any other provision of this Agreement to the contrary or (ii) any instruction of Borrower as to
    their desired application of payments. Except as otherwise provided in the Syndication
    Documents, no Defaulting Lender shall have the right to vote on matters which are subject to the
    consent or approval of Required Lenders or all Lenders and while any Lender is a Defaulting
    Lender the requisite percentage of Lenders which constitutes the Required Lenders shall be
    calculated exclusive of the Percentage of the Defaulting Lender. Except as otherwise provided
    in the Syndication Documents, the Agent shall be entitled to (i) withhold or set off, and to apply
    to the payment of the Lender Default Obligation, any amounts to be paid to such Defaulting
    Lender under this Agreement, and (ii) bring an action or suit against such Defaulting Lender in a
    court of competent jurisdiction to recover the Lender Default Obligation and, to the extent such
    recovery would not fully compensate the Lenders for the Defaulting Lender’s breach of this
    Agreement, to collect damages. In addition, except as otherwise provided in the Syndication
    Documents, the Defaulting Lender shall indemnify, defend and hold Agent and each of the other
    Lenders harmless fiom and against any and all claims, actions, liabilities, damages, costs and
    expenses (including attorneys’ fees and expenses), plus interest thereon at the Default Rate, for
    funds advanced by Agent or any other Lender on account of the Defaulting Lender or any other
    damages such persons may sustain or incur by reason of or as a direct consequence of the
    Defaulting Lender’s failure or refusal to abide by its obligations under this Agreement.

                     Section 8.8.3 At least five (5) Business Days prior to the first date on which
    interest or fees are payable hereunder for the account of any Lender, each Lender that is not
    incorporated under the laws of the United States of America, or a state thereof, agrees that it will
    deliver to the Agent two duly completed copies of United States Internal Revenue Service Form
     1001 or 4224, certifying in either case that such Lender is entitled to receive payments under this
    Agreement and the Note without deduction or withholding of any United States federal income
.   taxes. Each Lender which so delivers a Form 1001 or 4224 further undertakes to deliver the
    Agent two additional copies of such form (or a successor form) on or before the date that such
    form expires or becomes obsolete or after the occurrence of any event requiring a change in the
    most recent forms so delivered by it, and such amendments thereto or extensions or renewals
    thereof as may be reasonably requested by the Agent, in each case certifying that such Lender is
    entitled to receive payments under this Agreement and the Note without deduction or
    withholding of any United States federal income taxes, unless an event (including without
    limitation any change in treaty, law or regulation) has occurred prior to the date on which any
    such delivery would otherwise be‘required which renders all such forms inapplicable or which
    would prevent such Lender from duly completing and delivering any such form with respect to it
    and such Lender advises the Agent that it is not capable of receiving payments without any
    deduction or withholding of United States federal income tax.

                  ’Section 8.9 Approval of Loan Documents. Each Lender authorizes and
    directs the Agent to enter into the Loan Documents for the benefit of the Lenders.


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                  Section 8.10 Agency Provisions Relating to Collateral.

                Section 8.10.1 Except as otherwise provided in the Syndication Documents, the
Agent is hereby authorized on behalf of all Lenders, without the necessity of any notice to or
                                                                                               r
further consent from any Lender (but subject to any applicable notice and cure rights of
Borrower set forth in the Loan Documents), at any time and from time to time, to take any action
with respect to any collateral for the Loan or any Loan Document which may be necessary to
preserve and maintain such collateral or to perfect and maintain perfected the liens upon such
collateral granted pursuant to this Agreement and the other Loan Documents.

                Section 8.10.2 Except as provided in this Agreement, the Agent shall have no
obligation whatsoever to any Lender or to any other person or. entity to assure that any collateral
exists or is owned by Borrower or is cared for, protected or insured or has been encumbered or
that the liens granted herein or in any of the other Loan Documents or pursuant hereto or thereto
have been properly or sufficiently or lawfully created, perfected, protected or enforced or are
entitled to any particular priority.

               Section 8.11 Lender Actions Against Borrower or the Collateral. Each
Lender agrees that it will not take any action, nor institute any actions or proceedings, against
Borrower or any other person hereunder or under any other Loan Documents with respect to
exercising claims against the.Borrower or rights in any collateral except as specifically permitted
by the Syndication Documents and the Loan Documents.

                Section 8.12 Assignment and Participation. No Lender shall be permitted to
assign or sell all or any portion of its rights and obligations under this Agreement to any
Borrower Party.

                Section 8.13 Ratable Sharing. Subject to Sections 8.7 and 8.8, Lenders agree
among themselves that (i) with respect to all amounts received by them which are applicable to
the payment of the Loan, equitable adjustment will be made so that, in effect, all such amounts
will be shared among them ratably in accordance with the Syndication Documents, whether
received by voluntary payment, by the exercise of the right of set-off or bankers’ lien, by
counterclaim or cross action or by the enforcement of any or all of the Loan Documents or any
collateral and (ii) if any of them shall by voluntary payment or by the exercise of any right of
counterclaim, set-off, bankers’ lien or otherwise, receive payment of a proportion of the
aggregate amount of the Loan held by it which is greater than the amount to which it is entitled
pursuant to the Syndication Documents on account of the Loan, the one receiving such excess
payment shall purchase, without recourse or warranty, an undivided interest and participation
(which it shall be deemed to have done simultaneously upon the receipt of such payment) in such
obligations owed to the others so that all such recoveries with respect to such obligations shall be
applied ratably in accordance with the Syndication Documents; provided, that if all or part of
such excess payment received by the purchasing party is thereafter recovered from it, those
purchases shall be rescinded and the purchase prices paid for such participations shall be
returned to that party to the extent necessary to adjust for such recovery, but without interest
except to the extent the purchasing party is required to pay interest in connection with such
recovery. Borrower agree that any Lender so purchasing a participation from another Lender
pursuant.to.this Section may, to the fullest extent permitted by law and in compliance with the


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    Loan Documents, exercise all its rights of payment (including the right of set-off) with respect to
    such participation as fully as if such Lender were the direct creditor of Borrower in the amount
    of such participation.

                    Section 8.14 General Immunitv. Neither Agent nor any of its directors,
    officers, agents or employees shall be liable to Borrower, Guarantor or any Lender for any action
    taken or omitted to be taken by Agent or its directors, officers, agents or employees hereunder or
    under any other Loan Document or in connection herewith or therewith, except for its or their
    own gross negligence or willful misconduct.

                     Section 8.15 No Responsibiliw for Loan, Recitals, Etc. Neither Agent nor
     any of its directors, officers, agents or employees shall be responsible for or have any duty to
     ascertain, inquire into, or verify (i) any statement, warranty or representation made in connection
     with any Loan Document or any use of the Loan; (ii) the performance or observance of any of
    ‘the covenants or agreements of any party to any Loan Document; (iii) the satisfaction of any
     condition specified in this Agreement; or (iv) the validity, effectiveness or genuineness of any
     Loan Document or any other instrument or writing furnished in connection therewith, provided
     that the foregoing shall not release Agent from liability for its gross negligence or willful
     misconduct.

                    Section 8.16 Action on Instructions of Lenders. The Agent shall in all cases
    be fully protected in acting, or in refraining from acting, hereunder and under any other Loan
    Document in accordance with written instructions signed by all the Lenders (or the requisite
    Lenders, if such action may be directed hereunder by the requisite Lenders), and such
    instructions and any action taken or failure to act pursuant thereto shall be binding on all of
    Lenders.

                    Section 8.17 Employment of APents and Counsel. The Agent may undertake
    any of its duties as Agent hereunder and under any other Loan Document by or through
.   employees, agents, and attorneys-in-fact.

                    Section 8.18 Reliance on Documents: Counsel. The Agent shall be entitled to
    rely upon any notice, consent, certificate, affidavit, letter, telegram, statement, paper or
    document believed by it to be genuine and correct and to have been signed or sent by the proper
    person or persons, and, in respect to legal matters, upon the opinion of counsel selected by the
    Agent, which counsel may be an employee of Agent, provided that the foregoing shall not
    release the Agent from liability for its gross negligence or willful misconduct. Any such counsel
    shall be deemed to be acting on behalf of Lender in assisting the Agent with respect to the Loan,
    but shall not be precluded from also representing Agent in any matter in which the interests of
    Agent and the other Lenders may differ.

                    Section 8.19 Rights as a Lender. With respect to its Committed Amount, if
    any, Agent shall have the same rights, powers and obligations hereunder and under any other
    Loan Document as any Lender and may exercise such rights and powers as though it were not an
    Agent, and the term “Lender” or “Lenders” shall, unless the context otherwise indicates, include
    Agent in its individual capacities. The Borrower and each Lender acknowledge and agree that
    Agent and/or its Affiliates may accept deposits from, lend money to, hold other investments in,


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and generally engage in any kind of trust, debt, equity or other transaction or have other
relationships, in addition to those contemplated by t h s Agreement or any other Loan Document,
with Borrower or any of its Affiliates in which Borrower or such Affiliates are not restricted
hereby from engaging with any other person.

                 Section 8.20 Successor Agent. Agent may, without the prior approval of
Borrower, on not less than thirty (30) days prior written notice, resign from the performance of
all its functions and duties hereunder and a successor Agent may be appointed as set forth in the
Syndication Documents. Agent shall turn over all funds held by Agent pursuant to this
Agreement to such successor Agent.

               Section 8.21 Costs of Secondary Market Transactions. Notwithstanding
anything to the contrary contained in this Article VIII, Borrower shall not be liable for any costs,
fees or expenses incurred by Lender with respect to any Secondary Market Transactions and co-
lending described in this Article VIII.

                                           IX EXCULPATION

                  Section 9.1         Non-Recourse Provisions.

                (a)     Subject to the qualifications below and the provisions of Sections 9.2, 9.3
and 9.4, Lender shall not enforce the liability and obligation of Borrower to perform and observe
the obligations contained in the Notes, this Agreement, the Security Instrument or the other Loan
Documents by any action or proceeding wherein a money judgment shall be sought against
Borrower or the partners or members of Borrower, except that Lender may bring any foreclosure
action, action for specific performance or any other appropriate action or proceeding to enable
Lender to enforce and realize upon Lender’s interest under the Notes, this Agreement, the
Security Instruments and the other Loan Documents, or in the Property or any portion thereof,
the Rents or any other collateral given to Lender pursuant to the Loan Documents; provided,
however, that except as specifically provided in Sections 9.2 and 9.3, any judgment in any such
action or proceeding shall be,enforceable against Borrower and/or Borrower’s members and/or
partners only to the extent of Borrower’s and/or Borrower’s partners’ and/or members’ interest
in the Property or any portion thereof, in the Rents and in any other collateral given to Lender,
and Lender, by accepting the Notes, this Agreement, the Security Instruments and the other Loan
Documents, agrees, unless deemed necessary by Lender to preserve potential liability of any
Person for a Recourse Event, that Lender shall not sue for, seek or demand any deficiency
judgment against Borrower or any other Person in any such action or proceeding under or by
reason of or under or in connection with the Notes, this Agreement, the Security Instruments or
the other Loan Documents.

                (b)       The provisions of this Article IX shall not, however, (i) constitute a
waiver, release or impairment of any obligation evidenced or secured by any of the Loan
Documents; (ii) impair the right of Lender to name the Borrower or any of them or any other
Person as a party defendant in any action or suit for foreclosure and sale under any Security
Instrument provided no money judgment is sought against them (except as otherwise provided in
this Article IX); (iii) affect the validity or enforceability of any guaranty, including, without
limitation, the Guaranty of Recourse Obligations, or the Environmental Indemnity made in


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    connection with the Loan or any of the rights and remedies of Lender thereunder; (iv) impair the
    right of Lender to obtain the appointment of a receiver; (v) impair the enforcement of the
    Assignments of Leases; (vi) constitute a prohibition against Lender to seek a deficiency
    judgment against any Person potentially liable therefor in order to fully realize the security
    granted by the Security Instruments or any other Loan Document or to commence any other
    appropriate action or proceeding in order for Lender to exercise its remedies against the Property
    or any portion thereof; or (vii) prohibit Lender from taking any action to perfect the Liens and
    security interests of the Loan Documents.

                    Section 9.2 Partial Recourse. Notwithstanding any provision of this
    Agreement to the contrary and in addition to the rights of Lender set forth in Section 9.3 (and not
    in limitation thereof), the provisions of this Article IX shall not constitute a waiver of the right of
    Lender to enforce the joint and several liability and/or obligation of Borrower or any other
    Person liable for the Obligations (including any Guarantor), by money judgment, specific
    performance or otherwise, to the extent of any Losses incurred by Lender arising out of or
    attributable to or relating to any of the following (collectively, the “Partial Recourse Events”
    and individually, a “Partial Recourse Event”): (i) the gross negligence or willful misconduct of
    Borrower or any other Borrower Party with respect to the Property; (ii) the voluntary physical
    waste or willful destruction of any of the Property or any portion thereof by Borrower or any
    other Borrower Party, or any of their respective agents, managers, officers, employees or
    Affiliates, including the removal of any portion of the Property in violation of the Loan
    Documents; (iii) the failure to remove or insure over any mechanic’s lien in violation of the Loan
    Documents; (iv) a failure by Borrower to pay Taxes or Other Charges in accordance with the
    Loan Documents; (v) Borrower or any of the Borrower Parties in any judicial or quasi-judicial
    case, action or proceeding directly or indirectly contests the validity or enforceability of the Loan
    Documents or directly or indirectly contests or intentionally hinders, delays or obstructs the
    pursuit of any rights or remedies by Lender (including the commencement and/or prosecution of
    a foreclosure action, judicial or non-judicial, the appointment of a receiver for the Property or
    any portion thereof or any enforcement of the terms of the Assignment of Leases) after an Event
    of Default; provided, however, that this clause (v) shall not apply to any particular Borrower
    Party or otherwise pertain to any action of any Borrower Party which solely contends and alleges
    only that as a factual matter all of the Borrower Parties are in fact in full compliance with all
    Obligations under the Loan Documents and that no Event of Default has occurred and is
    continuing; provided that any liability under this clause (v) shall be limited to Lender’s
    reasonable attorney’s fees; (vi) any amendment or modification of any of the Organizational
    Documents of Borrower, the sole member of Borrower or any of the Borrower Parties or of any
    Material Agreement or Affiliate Agreement shall occur without the prior written consent of
    Lender, to the extent required herein; (vi;) any Borrower Party, or any Affiliate of any Borrower
    Party, shall seek a jury trial in any action or proceeding against Lender, whether arising under the
    Loan Documents or otherwise; (viii) any Borrower Party, or any Affiliate of any Borrower Party,
    shall make a counterclaim against Lender, Servicer or their Affiliates in violation of Section 1 1.1
    in any action or proceeding, whether arising under the Loan Documents or otherwise; (ix) the
    failure of Borrower to pay Lender’s or Servicer’s costs and expenses in accordance with
&   Section 12.23; (x) the misapplication or misappropriation of any Security Deposits, including
    any Security Deposits received by Tenants and not deposited into an escrow account for the
    benefit of such Tenants, except to the extent any such Security Deposits were applied in
    accordance with the terms and conditions of any of the Leases prior to the occurrence of an


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Event of Default; (xi) any violation, breach or failure to comply with Section 12.9 (after an Event
of Default); (xii) if Borrower or any Borrower Party intentionally fails to comply with any Legal
Requirement; (xiii) any assertion by Borrower or any other Borrower Party that (a) Lender has
modified the Loan Documents other than by a written instrument signed by Lender, (b) Lender
has waived the provisions of the Loan Documents by failing to require Borrower’s strict
performance of the terms thereof, or (c) Lender’s and Borrower’s relationship is other than that
of a debtodcreditor arising under the Loan’Documents; or (xiv) failure to maintain the insurance
coverages required by Section 6.1 or any failure of Borrower to pay any deductible under any
Policy after a loss covered by such Policy.

                Section 9.3 Full Recourse. In addition to the rights of Lender set forth in
Section 9.2 (and not in limitation thereof), the Debt shall be fully recourse to Borrower and the
provisions of Section 9.1 (a) shall be wholly inapplicable ab initio, and Borrower shall be fully
personally liable for all of the Debt upon the occurrence of any of the following (collectively, the
                                                                                                ‘
“Full Recourse Events”, and individually, a “Full Recourse Event”): (a) any fraud or
intentional material misrepresentation in connection with the Loan which has a Material Adverse
Effect on the value of the Property or any other collateral for the Loan whether made prior to or
after the Closing Date; (b) the intentional misappropriation, misapplication, conversion or
application in violation of the Loan Documents (including interference with the operation of the
any lockbox agreement entered into by Borrower and Lender) by Borrower or Guarantor (which
shall include any use of Loan proceeds other than as specified in the Certificate of Sources and
Uses) of (1) any Insurance Proceeds, (2) any Awards, Condemnation Proceeds or other amounts
payable in connection with the Condemnation of all or a portion of the Property, (3) any Rents
and/or Security Deposits received or collected by any Borrower Party or any Affiliate of any
Borrower Party and not applied in accordance with the Loan Documents or (4) any Gross Sale
Proceeds received by any Borrower Party in connection with the sale of the Units or any other
sales proceeds from any portion of the Property after the failure to cure such breach within ten
(10) days after Borrower’s receipt of notice from Lender; (c) any voluntary action by ,Borrower
or any Borrower Party which result in a violation, breach or failure to comply with Section 5.22;
(d) any of the events described in Section 7.1(a)(vi) shall occur (other than with respect to any
case, proceeding or other action under any existing or future Bankruptcy Laws, or seeking
appointment of a receiver, trustee, custodian, conservator or other similar official commenced
against Borrower by Lender); (e) if any Borrower Party incurs any Indebtedness in violation of
the express restrictions of prohibitions contained in the Loan Documents and such violation is
not cured within ten (1 0) days after receipt of notice from Lender; or ( f ) a breach by Borrower of
the provisions of Section 4.1(s) (other than with respect to subsections (v), (ix) and (xx) thereof).

               Section 9.4 Recourse Events. Notwithstanding anything to the contrary in
this Article IX, (a) if any of the actions constituting a Recourse Event are subject to a specified
notice and cure period in the Loan Documents, the same shall not give rise to personal liability
for the payment and performance of the Obligations until the expiration of any such notice and
cure period, and (b) a voluntary bankruptcy filing by any one Guarantor that is an individual
(“Bankrupt Guarantor”) will not result in the personal liability of any other Guarantor (“Non-
Bankrupt Guarantor”) provided the Loan is not otherwise in default and shall remain in full
force and effect. In addition to the foregoing, a voluntary bankruptcy filing by not more than one
Guarantor shall not constitute an Event of Default hereunder provided (x) the remaining
Guarantors satisfy the Financial Covenant Tests (as defined in the Guaranty of Recourse


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     Obligations), as determined by Lender in accordance with its customary practices, or
     (y) Borrower replaces such Guarantor with an individual or entity acceptable to Lender in its
     discretion. Any replacement or substitution of a Guarantor with another Guarantor may be
     conditioned upon the delivery to Lender of a Non-Consolidation Opinion with respect to such
     Guarantor as requested by Lender. Liability for the payment and performance of the Obligations
     as a result of a Partial Recourse Event shall exclude any consequential or speculative damages.
     Notwithstanding anything to the contrary in this Article IX, if (i) the Project is conveyed by
-.   foreclosure of any Mortgage, exercise of power of sale under any Mortgage, a deed in lieu of
     foreclosure, or by reason of any other remedy set forth in the Loan Documents, (ii) Borrower,
     any of the Principal, any Guarantor or any of their Affiliates is no longer in possession or control
     of the Project and (iii) Borrower and any other Borrower Party consents to, and is cooperating in
     good faith with Lender in connection with, any such foreclosure or other exercise of remedies
     and neither Borrower nor any other Borrower Party is contesting or otherwise interfering with
     any such foreclosure or other exercise of remedies in any manner, then the indemnities with
     respect to any Partial Recourse Event or Full Recourse Event, as the case may be, shall not apply
     with respect to Losses that arise on or following the date of such conveyance except to the extent
     arising from acts of Borrower or any Borrower Party which occur thereafter.

                    Notwithstanding anything set forth in Article IX to the contrary, nothing
     contained in this Article IX shall alter or limit the liability of any Person under any other
     environmental indemnity agreement, guaranty agreement or any other agreement given by such
     other Person to Lender.]

                     Section 9.5 No Waiver. Notwithstanding anything to the contrary in this
     Agreement or any of the other Loan Documents (including the provisions of this Article IX)
     Lender shall not be deemed to have waived any right which Lender may have under
     Sections 506(a), 506(b), 111l(b) or any other provisions of the Bankruptcy Code to file a claim
     for the full amount of the Debt or to require that all collateral shall continue to secure all of the
     Debt owing to Lender in accordance with the Loan Documents.

                                           X INDEMNIFICATION
                     Section 10.1 General Indemnification. In addition to any other
     indemnifications provided herein or in the other Loan Documents, Borrower shall, at Borrower’s
     sole cost and expense, protect, defend, indemnify, release and hold harmless the Indemnified
     Parties from and against any and all Losses imposed upon or incurred by or asserted against any
     Indemnified Parties and directly or indirectly arising out of or in any way relating to any one or
     more of the following: (a) any accident, injury to or death of persons or loss of or damage to
     property occurring in, on or about the Property or any part thereof or on the adjoining sidewalks,
     curbs, adjacent property or adjacent parking areas, streets or ways; (b) any use, nonuse or
     condition in, on or about the Property or any part thereof or on adjoining sidewalks, curbs,
     adjacent property or adjacent parking areas, streets or ways; (c) performance of any labor or
     services or the furnishing of any materials or other property in respect of the Property or any part
     thereof; (d) any failure of the Property to be in compliance with any Legal Requirement; (e) any
     failure of the Property to comply with any Access Laws; (0 any representation or warranty made
     in any of the Loan Documents being false or misleading in any material respect as of the date
     such representation or warranty was made or the use or intended use of the proceeds of the Loan;


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(g) any claim by brokers, finders or similar Persons claiming to be entitled to a commission in
connection with the Loan (other than one claiming to have dealt exclusively with Lender) or any
Lease or other transaction involving the Property or any part thereof; and (h) the claims of any
Tenant (except any claims of Tenants first accruing after the date Lender or Lender’s Affiliate
takes title to the Property); provided, however, that Borrower shall not have any obligation to
Lender hereunder to the extent that such Losses arise from the gross negligence or willful
misconduct of Lender. To the extent that the undertaking to indemnify, defend and hold
harmless set forth in the preceding sentence may be unenforceable because it violates any law or
public policy, Borrower shall pay the maximum portion that Borrower are permitted to pay and
satisfy under applicable law and this indemnification provision shall be enforced to the
maximum extent allowed by law. Any amounts payable to Lender by reason of the application
of this paragraph shall be secured by the Loan Documents and shall become immediately due
and payable and shall bear interest at the Default Rate from the date of demand until paid. The
obligations and liabilities of Borrower under this Section 10.1 shall be joint and several and shall
survive termination, satisfaction, or assignment of this Agreement, the repayment of the Debt
and the exercise by Lender of any of its rights or remedies hereunder, including the acquisition
of Property by foreclosure or a conveyance in lieu of foreclosure. WITHOUT LIMITATION
TO THE FOREGOING, BORROWER HEREBY AGREES TO DEFEND, INDEMNIFY AND
HOLD HARMLESS LENDER, ITS DIRECTORS, OFFICERS, EMPLOYEES, AGENTS,
SUCCESSORS AND ASSIGNS FROM AND AGAINST ANY AND ALL LOSSES,
DAMAGES, LIABILITIES, CLAIMS, ACTIONS, JUDGMENTS, COURT COSTS AND
LEGAL OR OTHER EXPENSES (INCLUDING, WITHOUT LIMITATION, REASONABLE
ATTORNEYS, FEES AND EXPENSES) WHICH LENDER MAY INCUR AS A DIRECT OR
INDIRECT CONSEQUENCE OF: (A) THE PURPOSE TO WHICH BORROWER APPLY
THE LOAN PROCEEDS; (B) THE FAILURE OF BORROWER TO PERFORM ANY
OBLIGATIONS AS AND WHEN REQUIRED BY THIS AGREEMENT OR ANY OF THE
OTHER LOAN DOCUMENTS; (C) ANY FAILURE AT ANY TIME OF ANY OF
BORROWER’S REPRESENTATIONS OR WARRANTIES TO BE TRUE AND CORRECT;
OR (D) ANY ACT OR OMISSION BY BORROWER, CONSTITUENT PARTNER OR
MEMBER OF BORROWER, ANY CONTRACTOR, SUBCONTRACTOR OR MATERIAL
SUPPLIER, ENGINEER, ARCHITECT OR OTHER PERSON OR ENTITY WITH RESPECT
TO ANY PORTION OF THE PROPERTY. BORROWER SHALL IMMEDIATELY PAY TO
LENDER UPON DEMAND ANY AMOUNTS OWING UNDER THIS INDEMNITY,
TOGETHER WITH INTEREST FROM THE,DATE THE INDEBTEDNESS ARISES UNTIL
PAID AT THE RATE OF INTEREST APPLICABLE TO THE PRINCIPAL BALANCE OF
THE NOTES. BORROWER’S DUTIES AND OBLIGATIONS TO DEFEND, INDEMNIFY
AND HOLD HARMLESS LENDER SHALL SURVIVE CANCELLATION OF THE NOTES
AND THE RELEASE, RECONVEYANCE OR PARTIAL RECONVEYANCE OF THE
SECURITY INSTRUMENTS.

                 Section 10.2 ERISA Indemnification. Borrower shall, at Borrower’s sole cost
and expense, protect, defend, indemnify, release and hold harmless the Indemnified Parties from
and against any and all Losses (including attorneys’ fees and costs incurred in the investigation,
defense, and settlement of Losses incurred in correcting any prohibited transaction or in the sale
of a prohibited loan, and in obtaining any individual prohibited transaction exemption under
ERISA that may be required, in Lender’s discretion) that Lender may incur, directly or
indirectly, as a result of a default under Sections 4.1 (i) or 5.23.


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                 Section 10.3 Duty to Defend; Attorneys’ Fees and Other Fees and Expenses.
Upon written request by any Indemnified Party, Borrower shall defend such Indemnified Party
(if requested by‘any Indemnified Party, in the name of the Indemnified Party) by attorneys and
other professionals reasonably approved by the Indemnified Parties. Notwithstanding the
foregoing, any of the Indemnified Parties may, in their discretion, engage their own attorneys
and other professionals to defend or assist them, and, at the option of Indemnified Parties, their
attorneys shall control the resolution of claim or proceeding. Upon demand, Borrower shall pay
or, in the discretion of the Indemnified Parties, reimburse, the Indemnified Parties for the
payment of the reasonable fees and disbursements of attorneys, engineers, environmental
consultants, laboratories and other professionals in connection therewith; provided, however, that
all of the Indemnified Parties shall be defended by one firm of attorneys unless Lender in good
faith determines that more than one law firm should be retained because of conflicts of interest or
potential conflicts of interest.

                Section 10.4 Changes in Laws Regarding Taxation. If any law is enacted or
adopted or amended after the date of this Agreement which deducts the Debt from the value of
the Property for the purpose of taxation or ,which imposes a tax, either directly or indirectly, on
the Debt or Lender’s interest in the Property, Borrower will pay such tax, with interest and
penalties thereon, if any, In the event Lender is advised by counsel chosen by Lender that the
payment of such tax or interest and penalties by Borrower would be unlawful or taxable to
Lender or unenforceable or provide the basis for a defense of usury, then in any such event,
Lender shall have the option; by written notice of not less than ninety (90) days, to declare the
Debt immediately due and payable.

                 Section 10.5 No Credits on Account of the Debt. Borrower will not claim or
demand or be entitled to any credit or credits on account of the Debt for any part of the Taxes or
Other Charges assessed against the Property, or any part thereof, and no deduction shall
otherwise be made or claimed from the assessed value of the Property, or any part thereof, for
real estate tax purposes by reason of the Loan Documents or the Debt. In the event such claim,
credit or deduction shall be required by law, Lender shall have the option, by written notice of
not less than ninety (90) days, to declare the Debt immediately due and payable.

                 Section 10.6 Recording of Security Instruments. Borrower forthwith upon
the execution and delivery of this Agreement and thereafter, from time to time upon five (5) days
notice from Lender, will cause the Security Instruments, and any other Loan Document creating
a Lien or security interest or evidencing the Lien thereof upon the Property or any part thereof
and each instrument of further assurance to be filed, registered or recorded in such manner and in
such places as may be reasonably required by Lender or by any present or future law in order to
publish notice of and fully to protect the Lien or security interest thereof upon, and the interest of
Lender in, the Property or any part thereof or to correct any error in the legal description of any
of the Property. Borrower will pay all filing, registration or recording fees, and all reasonable
expenses incident to the preparation, execution and acknowledgment of the Security Instruments,
any mortgages supplemental thereto, any security instruments with respect to the Property or any
part thereof, any such other Loan Document and any instrument of further assurance, and all
federal, state, county and municipal taxes, duties, imposts, assessments and charges arising out of
or in connection with the execution and delivery of the Security Instruments, any mortgages
supplemental thereto, any security instruments with respect to the Property or any part thereof,


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any such other Loan Document or any instrument of further assurance, except where prohibited
by law so to do. Borrower shall hold harmless and indemnify Lender, Servicer, their respective
successors and assigns, against any liability incurred by reason of the imposition of any tax on
the making and recording of the Security Instruments or any other Loan Document. If at any
time any Governmental Authority shall require revenue or other stamps to be affixed to any of
the Loan Documents, or impose any other tax or charge on the same, Borrower will pay for the
same, with interest and penalties thereon, if any. Borrower hereby absolutely and irrevocably
appoints Lender as Borrower’s true and lawful attorney, coupled with an interest, in Borrower’s
name and stead to make and execute all documents necessary or desirable to effect the provisions
of this Section 10.6 if Borrower fails to do so for five days after demand by Lender. Borrower
hereby ratifies all that Borrower’s said attorney(ies) shall do by virtue of such power or
authority. Borrower hereby acknowledges and agrees that Borrower shall have no claim or cause
of action against Lender arising out of Lender’s execution andor recordation of any instruments
by or on behalf of Borrower pursuant to the foregoing power of attorney.

               Section 10.7 Brokers and Financial Advisors. Borrower hereby represents
that Borrower has not dealt with any financial advisors, brokers, underwriters, placement agents,
agents or finders in connection with the transactions contemplated by this Agreement except
Shopco Properties Corp. Borrower hereby agrees to indemnify, defend and hold Lender
harmless from and against any and all claims, liabilities, costs and expenses of any kind
(including Lender’s attorneys’ fees and expenses) in any way relating to or arising from a claim
by any Person that such Person acted on behalf of Borrower or Lender in connection with the
transactions contemplated herein. The provisions of this Section 10.7 shall survive the
expiration and termination of this Agreement and the payment of the Debt.

                                          XI WAIVERS                4



                Section 11.1 Waiver of Counterclaim. All amounts due under this Agreement
or the other Loan Documents shall be payable without setoff, counterclaim or any deduction
whatsoever. Borrower hereby waives the right to assert a counterclaim, other than a compulsory
counterclaim, in any action or proceeding brought against Borrower by Lender or its agents,
including Servicer, or otherwise offset any obligations to make payments required under the
Loan Documents:\Any Investor or assignee of Lender’s interest in and to the Loan Documents
shall take the same free and clear of all offsets, counterclaims or defenses which Borrower may
otherwise have against any assignor of the Loan Documents, and no such unrelated offset,
counterclaim or defense shall be interposed or asserted by Borrower in any action or proceeding
brought by any such assignee upon the Loan Documents, and any such right to interpose or
assert any such offset, counterclaim or defense in any such action or proceeding is hereby
expressly waived by Borrower. If Borrower is indebted to Lender pursuant to more than one
note or pursuant to any subordinate loan documents, (i) the preceding provisions shall apply to
any note or other loan documents assigned or transferred by Lender, even if one or more notes
are retained by Lender, and (ii) Borrower waives and releases any right to assert any claim, cause
of action, offset or defense against Lender with respect to the Loan or the Loan Documents
which is any way related to such other note or subordinate loan documents.

               Section 11.2 Marshalling and Other Matters. Borrower hereby waives, to the
extent permitted by law, the benefit of all appraisement, valuation, stay, extension, reinstatement


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and redemption laws now or hereafter in force and all rights of marshalling in the event of any
sale hereunder of the Property or any part thereof or any interest therein and the pleading of any
statute of limitations as a defense to payment of the Debt or performance of the Obligations.
Further, Borrower hereby expressly waives any and all rights of redemption from sale under any
order or decree of foreclosure of any Security Instrument on behalf of Borrower, and on behalf
of each and every Person acquiring any interest in or title to the Property subsequent to the date
of this Agreement and on behalf of all Persons to the extent permitted by applicable law.
Borrower hereby waives and renounces all homestead and exemption rights provided by the
Constitution and the laws of the United States and of any state, in and to the Property as against
the collection of the Debt, or any part thereof. The interests and rights of Lender under the
Notes, the Security Instruments or in any of the other Loan Documents shall not be impaired by
any indulgence, including (i) any renewal, extension or modification which Lender may grant
with respect to any of the Debt, (ii) any surrender, compromise, release, renewal, extension,
exchange or substitution which Lender may grant with respect to the Property or any portion
thereof; or (iii) any release or indulgence granted to any maker, endorser, Borrower Party or
surety of any of the Debt.

                Section 11.3 Waiver of Notice. Borrower shall not be entitled to, and hereby
waive the right to receive, any notices of any nature whatsoever from Lender except with respect
to matters for which this Agreement or the other Loan Documents specifically and expressly
provide for the giving of notice by Lender to Borrower and except with respect to matters for
which Borrower is not, pursuant to applicable Legal Requirements, permitted to waive the giving
of notice.

           Section 11.4 Trial by Jury. EACH PARTY TO THIS AGREEMENT
HEREBY EXPRESSLY WAIVES ANY RIGHT TO TRIAL BY JURY OF ANY CLAIM,
DEMAND, ACTION OR CAUSE OF ACTION (A) ARISING UNDER THE LOAN
DOCUMENTS, INCLUDING, WITHOUT LIMITATION, ANY PRESENT OR FUTURE
MODIFICATION THEREOF OR (B) IN ANY WAY CONNECTED WITH OR RELATED OR
INCIDENTAL TO THE DEALINGS OF THE PARTIES HERETO OR ANY OF THEM WITH
RESPECT TO THE LOAN DOCUMENTS (AS NOW OR HEREAFTER MODIFIED) OR
ANY OTHER INSTRUMENT, DOCUMENT OR AGREEMENT EXECUTED OR
DELIVERED IN CONNECTION HEREWITH, OR THE TRANSACTIONS RELATED
HERETO OR THERETO, IN EACH CASE WHETHER SUCH CLAIM, DEMAND, ACTION
OR CAUSE OF ACTION IS NOW EXISTING OR HEREAFTER ARISING, AND WHETHER
SOUNDING IN CONTRACT OR TORT OR OTHERWISE; AND EACH PARTY HEREBY
AGREES AND CONSENTS THAT ANY PARTY TO THIS AGREEMENT MAY FILE AN
ORIGINAL COUNTERPART OR A COPY OF THIS SECTION WITH ANY COURT AS
WRITTEN EVIDENCE OF THE CONSENT OF THE PARTIES HERETO TO THE WAIVER
OF ANY RIGHT THEY MIGHT OTHERWISE HAVE TO TRIAL BY JURY.

                                      XI1 MISCELLANEOUS

                Section 12.1 Survival. This Agreement and all covenants, agreements,
representations and warranties made herein and in the certificates delivered pursuant to any of
the Loan Documents, including the Certificate of Sources and Uses’and the Payment Direction
Letter, shall survive the making by Lender of the Loan and the execution and delivery to Lender


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    of the Notes, and shall continue in full force and effect so long as all or any of the Debt is
    outstanding and unpaid unless a longer period is expressly set forth herein or in the other Loan
'   Documents. Whenever in this Agreement any of the parties hereto is referred to, such reference
    shall be deemed to include the legal representatives, successors and assigns of such party. All
    covenants, promises and agreements in this Agreement, by or on behalf of Borrower, shall inure
    to the benefit of the legal representatives, successors and assigns of Lender.

                      Section 12.2 Governing; Law.

              (A)   THIS AGREEMENT WAS NEGOTIATED IN WHOLE OR IN
    PART IN THE STATE OF NEW YORK, AND MADE BY LENDER AND ACCEPTED
    BY BORROWER IN THE STATE OF NEW YORK, AND THE PROCEEDS OF THE
    NOTES DELIVERED PURSUANT TO THIS AGREEMENT WERE DISBURSED
    FROM THE STATE OF NEW YORK, WHICH STATE THE PARTIES AGREE HAS A
    SUBSTANTIAL RELATIONSHIP TO THE PARTIES AND TO THE UNDERLYING
    TRANSACTION EMBODIED HEREBY, AND IN ALL RESPECTS, INCLUDING
    MATTERS OF CONSTRUCTION, VALIDITY AND PERFORMANCE, THIS
    AGREEMENT AND THE OBLIGATIONS ARISING HEREUNDER SHALL BE
    GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE
    STATE OF NEW YORK APPLICABLE TO CONTRACTS MADE AND PERFORMED
    IN SUCH STATE (WITHOUT REGARD TO PRINCIPLES OF CONFLICT LAWS) AND
    ANY LEGAL REQUIREMENT OF THE UNITED STATES OF AMERICA, EXCEPT
    THAT AT ALL TIMES THE PROVISIONS FOR THE CREATION, PERFECTION AND
    ENFORCEMENT OF THE LIENS AND SECURITY INTERESTS CREATED
    PURSUANT HERETO AND PURSUANT TO THE OTHER LOAN DOCUMENTS
    SHALL BE GOVERNED BY AND CONSTRUED ACCORDING TO THE LAW OF THE
    STATE IN WHICH THE APPLICABLE PROPERTY IS LOCATED, IT BEING
    UNDERSTOOD THAT, TO THE FULLEST EXTENT PERMITTED BY THE LAW OF
    SUCH STATE, THE LAW OF THE STATE OF NEW YORK SHALL GOVERN THE
    CONSTRUCTION, VALIDITY AND ENFORCEABILITY 0F.ALL LOAN
    DOCUMENTS AND ALL OF THE OBLIGATIONS ARISING HEREUNDER OR
    THEREUNDER. TO THE FULLEST EXTENT PERMITTED BY LAW, BORROWER
    HEREBY UNCONDITIONALLY AND IRREVOCABLY WAIVES ANY CLAIM TO
    ASSERT THAT THE LAW OF ANY OTHER JURISDICTION GOVERNS THIS
    AGREEMENT AND THE NOTE, AND THIS AGREEMENT AND THE NOTES SHALL
    BE GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF
    THE STATE OF NEW YORK. THIS CHOICE OF GOVERNING LAW IS MADE
    PURSUANT TO NEW YORK GENERAL OBLIGATION LAW SECTION 5-1401.

              (B)   ANY LEGAL SUIT, ACTION OR PROCEEDING AGAINST
    BORROWER ARISING OUT OF OR R~LATINGTO THIS AGREEMENT OR ANY
    OTHER LOAN DOCUMENT MAY BE INSTITUTED IN ANY FEDERAL OR STATE
    COURT IN THE CITY OF NEW YORK, COUNTY OF NEW YORK, OR AT LENDER'S
    SOLE OPTION AND ELECTION IN THE STATE WHERE THE PROPERTY IS
    LOCATED, AND, IN EITHER INSTANCE, BORROWER WAIVES ANY OBJECTIONS
    WHICH BORROWER MAY NOW OR HEREAFTER HAVE BASED ON VENUE
    AND/OR FORUM NON CONVENIENS OF ANY SUCH SUIT, ACTION OR


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PROCEEDING, AND BORROWER HEREBY IRREVOCABLY SUBMITS TO THE
JURISDICTION OF ANY SUCH COURT IN ANY SUIT, ACTION OR PROCEEDING.
BORROWER DOES HEREBY DESIGNATE AND APPOINT NEW YORK
SECRETARY OF STATE AS ITS AUTHORIZED AGENT TO ACCEPT AND
ACKNOWLEDGE ON ITS BEHALF SERVICE OF ANY AND ALL PROCESS WHICH
MAY BE SERVED IN ANY SUCH SUIT, ACTION OR PROCEEDING IN ANY
FEDERAL OR STATE COURT I N NEW YORK, NEW YORK, AND AGREES THAT
SERVICE OF PROCESS UPON SAID AGENT AT SAID ADDRESS AND WRITTEN
NOTICE OF SAID SERVICE MAILED OR DELIVERED TO BORROWER IN THE
MANNER PROVIDED HEREIN SHALL BE DEEMED IN EVERY RESPECT
EFFECTIVE SERVICE OF PROCESS UPON BORROWER, IN ANY SUCH SUIT,
ACTION OR PROCEEDING IN THE STATE OF NEW YORK. A COPY OF SUCH
SERVICE OF PROCESS SHALL BE DELIVERED TO: GUREVICH & ASSOCIATES,
LLP, 216 EAST 49TH STREET, 5TH FLOOR, NEW YORK, NEW YORK 10017.
BORROWER (I) SHALL GIVE PROMPT NOTICE TO LENDER OF ANY CHANGED
ADDRESS OF ITS AUTHORIZED AGENT HEREUNDER, (11) MAY AT ANY TIME
AND FROM TIME TO TIME DESIGNATE A SUBSTITUTE AUTHORIZED AGENT
WITH AN OFFICE IN NEW YORK, NEW YORK (WHICH SUBSTITUTE AGENT AND
OFFICE SHALL BE DESIGNATED AS THE PERSON AND ADDRESS FOR SERVICE
OF PROCESS), AND (111) SHALL PROMPTLY DESIGNATE SUCH A SUBSTITUTE IF
ITS AUTHORIZED AGENT CEASES TO HAVE AN OFFICE IN NEW YORK, NEW
YORK OR IS DISSOLVED WITHOUT LEAVING A SUCCESSOR.

          (C) ANY LEGAL SUIT, ACTION OR PROCEEDING AGAINST
LENDER BROUGHT BY BORROWER AGAINST LENDER ARISING OUT OF OR
RELATING TO THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT OR
ARISING OUT OF THE LENDER-BORROWER RELATIONSHIP CREATED BY THE
LOAN DOCUMENTS (WHETHER ARISING IN CONTRACT, TORT OR
OTHERWISE) WHICH I N ANY EVENT SHALL BE SUBJECT TO THE
LIMITATIONS OF SECTION 12.21, MAY ONLY BE INSTITUTED IN ANY FEDERAL
OR STATE COURT IN THE CITY OF NEW YORK, COUNTY OF NEW YORK AND
BORROWER HEREBY WAIVES ANY RIGHT TO BRING ANY CLAIM OR CAUSE
OF ACTION IN ANY OTHER JURISDICTION AND HEREBY AGREES NOT TO DO
so.
               Section 12.3 Modification; Waiver in Writing. No modification, amendment,
extension, discharge, termination or waiver of any provision of this Agreement, or of any other
Loan Document, nor consent by Lender to any departure by any Borrower Party from the
Obligations, shall in any event be effective unless the same shall be in a writing signed by the
Person against whom enforcement is sought, and then such waiver or consent shall be effective
only in the specific instance, and for the purpose, for which given. Except as otherwise
expressly provided herein, no notice to, or demand on any Borrower Party shall entitle any
Borrower Party to any other or future notice or demand in the same, similar or other
circumstances.

               Section 12.4 Delay Not a Waiver. Neither any failure nor any delay on the part
of Lender in insisting upon strict performance or compliance of any term, condition, covenant or


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agreement, or Lender's delay in exercising any right, power, remedy or privilege hereunder, or
under the Notes or under any other Loan Document, or any other instrument given as security
therefor, shall operate as or constitute a waiver thereof, nor shall a single or partial exercise
thereof preclude any other future exercise, or the exercise of any other right, power, remedy or
privilege. In particular, and not by way of limitation, by accepting payment after the due date of
any amount payable under this Agreement, or any other Loan Document, Lender shall not be
deemed to have waived any right either to require prompt payment when due of all other
amounts due under this Agreement, or the other Loan Documents, or to declare a default for
failure to effect prompt payment of any such other amount.

               Section 12.5 Notices. All notices, consents, approvals and requests required or
permitted hereunder or under any other Loan Document shall be given in writing (including by
facsimile) and shall be effective for all purposes if hand delivered or sent by (a) certified or
registered United States mail, postage prepaid, (b) expedited prepaid delivery service, either
commercial or United States Postal Service, with proof of attempted delivery, or (c) by facsimile
(with a copy sent contemporaneously by certified or registered United States mail, postage
prepaid) answer back acknowledged), addressed as follows:

                 If to Borrower:           Hale Avenue Borrower, LLC
                                      1


                                           216 East 4gth Street, 5thFloor
                                           New York, New York 10017
                                           Attention: Alexander Gurevich
                                           Telephone: 2 12-829-9200
                                           Facsimile: 2 12-829-9838

                                            with a copy to:

                                           Gurevich & Associates, LLP
                                           216 East 4gthStreet, 5thFloor
                                           New York, New York 10017
                                           Attention: Tatiana A. Shestova, Esq.
                                           Telephone: 2 12-829-9200
                                           Facsimile: 212-829-9838

                                            and

                                           Simon Singer
                                           494 Sth Avenue, 21'' Floor
                                           New York, New York 10001
                                           Telephone:
                                           Facsimile:




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                 If to Lender:         Lehman Brothers Holdings Inc.
                                       399 Park Avenue
                                       8th Floor
                                       New York, New York 10022
                                       Attention: Carmine Visone and Christopher McKenna
                                       Telephone: (212) 526-1796
                                       Facsimile: (646) 758-3 140
                                       MTS Nos.: WH6409

                                       with copies to:

                                       Lehman Brothers Holdings Inc.
                                       399 Park Avenue
                                       8th Floor
                                       New York, New York 10022
                                       Attention: David Broderick
                                       Telephone: (212) 526-2453
                                       Facsimile: (646) 758-53 11
                                       MTS No.: WH6409

                                       and

                                       Paul Hastings Janofsky & Walker LLP
                                       75 East 55th Street
                                       New York, New York 10022
                                       Attention: Kenneth Friedman, Esq.
                                       Telephone: (212) 3 18-6025
                                       Facsimile: (2 12) 3 19-4090

                 with a copy to
                 Servicer:             TriMont Real Estate Advisors
                                       Monarch Tower
                                       3424 Peachtree Road NE
                                       Suite 2200
                                       Atlanta, Georgia 30326
                                       Attention: J. Gregory Winchester
                                       Telephone: (404) 420-5600
                                       Facsimile: (404) 420-56 10
                                       MTS No.: WH6409

or at such other address and Person as shall be designated from time to time by any party hereto,
as the case may be, in a k i t t e n notice to the other parties hereto in the manner provided for in
this Section. A notice shall be deemed to have been given: in the case of hand delivery, at the
time of delivery; in the case of registered or certified mail, when delivered or the first attempted
delivery on a Business Day; in the case of expedited prepaid delivery, upon the first attempted
delivery on a Business Day, in the case of facsimile, upon completion of transmission (which is



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    confirmed by telephone or by a statement generated by the transmitting machine) with receipt
    acknowledged by the recipient thereof.

                    Section 12.6 Headings. The Article and/or Section headings and the Table of
    Contents in this Agreement are included herein for convenience of reference only and shall not
    constitute a part of this Agreement for any other purpose. “Section” refers to the entire
    Section and not to any particular subsection, paragraph or other subdivision. Reference to days
    for performance shall mean calendar days unless Business Days are expressly indicated.

                     Section 12.7 Severability. If any provision or obligation under this Agreement
    and the other Loan Documents shall be determined by a court of competent jurisdiction to be
    invalid, illegal or unenforceable, that provision shall be deemed severed from the Loan
    Documents and the validity, legality and enforceability of the remaining provisions or
    obligations shall remain in full force as though the invalid, illegal, or unenforceable provision
    had never been a part of the Loan Documents.

                    Section 12.8 Preferences. Lender shall have the continuing and exclusive right
    to apply or reverse and reapply any and all payments by any of the Borrower Parties to any
    portion of the Obligations. To the extent any of the Borrower Parties makes a payment or
    payments to Lender, which payment or proceeds or any part thereof are subsequently
    invalidated, declared to be fraudulent or preferential, set aside or required to be repaid to a
    trustee, receiver or any other party under any Bankruptcy Law, state or federal law, common law
    or equitable cause, then, to the extent of such payment or proceeds received,’the Obligations or
    part thereof intended to be satisfied shall be revived and continue in full force and effect, as if
    such payment or proceeds had not been received by Lender.

                    Section 12.9 Expenses. Borrower covenants and agrees to pay to Lender upon
    receipt of written notice from Lender all reasonable costs and expenses (including reasonable
    attorneys’ fees and disbursements) incurred by Lender in connection with (i) the preparation,
    negotiation, execution and delivery of this Agreement zpd the other Loan Documents and the
    consummation of the transactions contemplated hereby and thereby and all the costs of
    furnishing all opinions by counsel for the Borrower Parties (including any opinions requested by
    Lender as to any legal matters arising under this Agreement or the other Loan Documents with
    respect to the Property); (ii) the ongoing performance of and compliance with the respective
    agreements and covenants of the Borrower Parties contained in this Agreement and the other
    Loan Documents; (iii) Lender’s ongoing performance and compliance with all agreements and
    conditions contained in this Agreement and the other Loan Documents, including Lender’s
    administration and servicing of the Loan; (iv) the negotiation, preparation, execution, delivery
    and administration of any consents, amendments, waivers or other modifications to this
    Agreement and the other Loan Documents and any other documents or matters requested by
    Lender; (v) securing compliance with any requests made by any Borrower Party pursuant to any
    provision of any of the Loan Documents; (vi) the filing and recording of the Loan Documents,
    title insurance and reasonable fees and expenses of counsel for providing to Lender all required
    legal opinions, and other similar expenses incurred in creating and perfecting the Liens in favor
    of Lender pursuant to this Agreement and the other Loan Documents; (vii) enforcing or
,   preserving any rights, in response to third party claims or the prosecuting or defending of any
    action or proceeding or other litigation, in each case against, under or affecting any Borrower


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Party, this Agreement, the other Loan Documents, the Property, or any other security given for
the Loan; (viii) costs incurred by Lender in the review of easements, lot line agreements or
similar matters, the review and approval of or consent to Leases and the negotiation of
subordination, non-disturbance and attornment agreements, and other similar items required by
Borrower in connection with Borrower’s use and enjoyment of the Property; (ix) costs incurred
by Lender in responding to any subpoena or participating in, observing or preparing for any
deposition or other legal or quasi-legal process; (x) the amounts described in Section 7.4;
(xi) appraisal fees (whether or not the appraiser is retained by Lender or Borrower); (xii) fees and,
charges for surveys and Engineering Reports (as defined in the Building Loan Agreement);
(xiii) fees and charges for examinations of title to the Project and for mortgagee title insurance
and endorsements thereto (including Datedown Endorsements) which are being or may in the
future be issued by the Title Insurance Company; (xiv) all taxes and charges relating to the
perfection of Lender’s security interests, including, without limitation, all mortgage recording
taxes payable now or in the future; (xv) all registration, recording and filing fees and charges in
connection with the Loan; (xvi) fees and charges of Lender’s insurance consultant and the
environmental engineers prepa/ring any environmental assessment or environmental audits as are
to be performed at Borrower’s expense pursuant to the terms of this Agreement; (xvii) costs for
certified copies of instruments; (xviii) all brokerage fees and commissions payable in connection
with the Loan; and (xix) the fees and expenses of the Consultant (as defined in the Building Loan
Agreement). Any cost and expenses due and payable to Lender shall be payable withn five ( 5 )
Business Days of demand, shall be secured by the Loan Documents, and if not paid when due,
shall bear interest at the Default Rate until paid. Borrower acknowledges and agrees that the
obligations of Borrower under this Section 12.9 are not subject to or conditioned upon Lender
making any Advances of the Loan to Borrower.

                 Section 12.10 Relationship of Borrower and Lender. The relationship between
.Borrower and Lender is solely that of debtor and creditor, and Lender has no fiduciary or other
 special relationship with Borrower, and no term or condition of any of the Notes, the Security
 Instruments, this Agreement and the other Loan Documents shall be construed so as to deem the
 relationship between Borrower and Lender to be other than that of the debtor and creditor
 relationship established pursuant to the Loan Documents. The relationship of Borrower and
 Lender is created and governed solely by the Loan Documents.

                  Section 12.11 No Joint Venture or Partnership: No Third Party
Beneficiaries.

                (a)     Any provision herein or in any of the other Loan Documents to the
contrary notwithstanding, Lender, by virtue of its acceptance of this Agreement and the making
of the Loan or any approval rights Lender may have herein or in any of the Loan Documents
shall not be deemed to constitute Lender a mortgagee-in-possession, tenant-in-common, or in
control of, or a partner or joint venturer with, or insider (within the meaning of Section 10l(3 1)
of the Bankruptcy Code) of, any Borrower Party or any other Person; and Borrower shall
indemnify Lender against, shall hold Lender harmless from, and shall reimburse Lender for, any
and all claims, demands, judgments, penalties, fines, liabilities, costs, damages and expenses,
including court costs and reasonable attorneys’ fees incurred by Lender (whether incurred in
connection with nonjudicial action, prior to trial; at trial, or on appeal or review) in any action
against or involving Lender resulting from such a construction of the Loan Documents.


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                (b)     Any inspection of the Property, any review or approval of any plans,
contracts, subcontracts (including environmental reviews, audits, assessments and/or reports
relating to the Property), and review or approval of budgets, expenses or obligations or any
analysis of the Property made by Lender or any of its agents, architects or consultants is intended
solely for the benefit of Lender and shall not be deemed to create or form the basis of any
warranty, representation, covenant, implied promise or liability to Borrower or any of their
employees or agents, any guest or invitee upon the Property, or any other Person.

                (c)     Except as otherwise provided in Article VI11 hereof, this Agreement and
the other Loan Documents are solely for the benefit of Lender and Borrower and any Servicer
appointed by Lender and nothing contained in this Agreement or the other Loan Documents shall
be deemed to confer upon anyone other than Lender, the Servicer appointed by Lender and
Borrower any right to insist upon or to enforce the performance or observance of any of the
obligations contained in the Loan Documents. Except as otherwise provided in Article VI11
hereof, all conditions to the obligations of Lender to make the Loan hereunder are imposed
solely and exclusively for the benefit of Lender and no other Person shall have standing to
require satisfaction of such conditions in accordance with their terms or be entitled to assume
that Lender will refuse to make the Loan in the absence of strict compliance with any or all
thereof and no other Person shall under any circumstances be deemed to be a beneficiary of such
conditions, any or all of which may be freely waived in whole or in part by Lender if, in
Lender’s discretion, Lender deems it advisable or desirable to do so.

                Section 12.12 Publici@. All news releases, publicity or advertising by the
Borrower Parties or their Affiliates through any media intended to reach the general public which
refers to the Loan Documents or the financing evidenced by the Loan Documents or to Lender,
or any of their Affiliates shall be subject to the prior written approval of Lender, which approval
shall not be unreasonably withheld.

                 Section 12.13 Subrogation. If any or all of the proceeds of the Notes have been
used to extinguish, extend or renew any Indebtedness heretofore existing against the Property or
any part thereof, then, to the extent of the funds so used, Lender shall be subrogated to all of the
rights, claims, Liens, titles, and interests existing against the Property or any part thereof
heretofore held by, or in favor of, the holder of such Indebtedness and such former rights, claims,
Liens, titles, and interests, if any, are not waived but rather are continued in full force and effect
in favor of Lender and are merged with the Lien and security interest created herein as
cumulative security for the repayment of the Debt, the performance and discharge of the
Obligations.

                Section 12.14 Duplicate Originals; Counterparts. This Agreement may be
executed in any number of duplicate originals and each duplicate original shall be deemed to be
an original. This Agreement may be executed in several counterparts, each of which
counterparts shall be deemed an original instrument and all of which together shall constitute one
agreement. The failure of any party hereto to execute this Agreement, or any counterpart hereof,
shall not relieve the other signatories from their obligations hereunder.

               Section 12.15 Liability. If Borrower consists of more than one Person, the
obligations and liabilities of each Person hereunder shall be joint and several irrespective of


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whether a particular Borrower is primarily responsible for such obligation or liability. This
Agreement shall be binding upon and inure $0 the benefit of Borrower and Lender and their
respective successors and assigns forever.

                Section 12.16 Prior Agreements. This Agreement and the other Loan
Documents contain the entire agreement of the parties hereto and thereto in respect of the
transactions contemplated hereby and thereby, and all prior agreements among or between such
parties, whether oral or written, including any term sheets, discussion outlines or commitment
letters (as same may be amended) between any of the Borrower Parties and Lender are
superseded by the terms of this Agreement and the other Loan Documents.                 .
                 Section 12.17 No Usury. Any provision herein, in any Loan Document or any
other document executed or delivered in connection with the Loan, or in any other agreement or
commitment, whether written or oral, expressed or implied, to the contrary notwithstanding,
Lender shall not in any event be entitled to receive or collect, nor shall or may amounts received
hereunder be credited, so that Lender shall be paid, as interest, a sum greater than the maximum
amount permitted by applicable law to be charged to the Person primarily obligated to pay the
Debt and the Obligations at the time in question. If any construction of this Agreement, any
other Loan Document, or any other document executed or delivered in connection herewith,
indicates a different right given to Lender to ask for, demand or receive any larger sum as
interest, such is a mistake in calculation or wording which this clause shall override and control,
it being the intention of the Borrower and Lender that this Agreement, any other Loan Document
and any other documents executed in connection herewith conform strictly to applicable usury
laws. In no event shall the amount treated as the total interest exceed the maximum amount of
interest which may be lawfully contracted for, charged, taken, received or reserved by Lender in
accordance with the applicable usury laws, taking into account all items which are treated as
interest under applicable law, computed in the aggregate over the full term of the Loan evidenced
hereby. In the event that the aggregate of all consideration which constitutes interest under
applicable law that is taken, reserved, contracted for, charged or received under this Agreement,
any other Loan Document and any other documents executed in connection herewith shall ever
exceed the maximum nonusurious rate under applicable law, any sum in excess thereof shall be
applied to the reduction of the unpaid principal balance of the Debt and the Obligations, and if
the Debt and the Obligations are paid in full, any remaining excess shall be paid to Borrower. In
determining whether or not the interest paid or payable, under any specific contingency, exceeds
the maximum nonusurious rate under applicable law, if any, the Borrower and Lender shall, to
the maximum extent permitted under applicable law, (a) characterize any nonprincipal amount as
an expense or fee rather than as interest, (b) exclude voluntary prepayments and the effects
thereof, or (c) “spread” the total amount of interest throughout the entire term of the Debt and the
Obligations so that the interest rate is uniform throughout the entire term of the Debt and the
Obligations; provided, however, that if the Debt and Obligations are paid and performed in full
prior to the end of the full contemplated term thereof, and if the interest received for the actual
period of existence thereof exceeds the maximum nonusurious rate, if any, Lender shall refund to
Borrower the amount of such excess.

              Section 12.18 Construction. Neither this Agreement nor any uncertainty or
ambiguity herein shall be construed or resolved against Lender by virtue of the fact that this
Agreement or any of the Loan Documents has originated with Lender as drafter. Borrower


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acknowledges that Borrower has reviewed this Agreement and the other Loan Documents and
has had the opportunity to consult with counsel on same. This Agreement and the other Loan
Documents, shall therefore be construed and interpreted according to the ordinary meaning of the
words used so as to fairly accomplish the purposes and intentions of the parties to the Loan
Documents. Borrower acknowledges that, with respect to the Loan, Borrower shall rely solely
on its own judgment and advisors in entering into the Loan without relying in any manner on any
statements, representations or recommendations of Lender or any parent, subsidiary or Affiliate
of Lender.

                Section 12.19 Lender’s Discretion. Whenever pursuant to this Agreement or
any of the Loan Documents, Lender may approve or disapprove any act (or any action) or any
document, delivery or other item, or where Lender’s consent or approval is required in any
respect or where any document or other item must be satisfactory to Lender, except in those
specific instances where Lender has specifically agreed not to unreasonably withhold Lender’s
consent pursuant to the terms of this Agreement or any of the Loan Documents, the decision of
Lender to approve or disapprove or to decide whether arrangements or terms are satisfactory or
not satisfactory or to grant or withhold consent shall be in the sole, absolute and unfettered
discretion of Lender, without any express or implied obligation of reasonableness or good faith
whatsoever and shall be final and conclusive. Borrower acknowledges and agrees that in no
circumstance shall Borrower have any claim or cause of action, in contract or in tort, against
Lender as a result of the granting or withholding of any such consent or approval. The inclusion
of references to Lender’s sole or absolute discretion in any particular provisions of this
Agreement or any of the Loan Documents shall not limit or affect the applicability of this
Section to all provisions of this Agreement or any of the Loan Documents, including those
provisions wherein a specific reference to Lender’s sole and absolute discretion is not made.
Without limiting the preceding provisions of this Section, in the event that a claim or
adjudication is made that Lender or its agents have acted unreasonably or in bad faith or
unreasonably delayed acting in any case where, by law or under this Agreement or the other
Loan Documents, Lender or such agent, as the case may be, has an obligation to act reasonab$
or in good faith or promptly, Borrower agrees that neither Lender, Servicer nor their agents or
employees shall be liable for any monetary damages (including any special, consequential,or
punitive damages whatsoever), whether in contract, tort (including negligence and strict liability)
or any other legal or equitable principles, and Borrower’s sole remedies shall be limited to
commencing an action seeking injunctive relief or declaratory judgment. The parties hereto
agree that any action or proceeding to determine whether Lender has acted reasonably or in good
faith shall be determined by an action seeking declaratory judgment.

                Section 12.20 Lender. The rights of Lender pursuant to this Agreement and the
other Loan Documents are in addition to all of the rights of Lender or any Affiliate of Lender
may now or hereafter have by virtue of any ownership, directly or indirectly, in Borrower or any
Affiliate of Borrower. In acting as Lender pursuant to this Agreement or the Loan Documents,
Borrower acknowledges that Lender shall owe no duties of any kind to Borrower or any other
Person (other than those specifically stated in the Loan Documents) on account of such role of
Lender or any Affiliate of Lender or by virtue of any ownership interest in Borrower or such
Affiliates (directly or indirectly) or otherwise, and there shall be no limitations on Lender’s
rights or remedies or Lender’s ability to act solely in Lender’s best interests or in Lender’s
discretion, notwithstanding the role of Lender or any such Affiliate of Lender may have by virtue


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    of any ownership interest in Borrower or any Affiliate of Borrower. Lender shall not be subject
    to any limitation whatsoever in the exercise of any rights or remedies available to Lender under
    any of the Loan Documents or any other agreements or instruments which govern the Loan by
    virtue of the ownership by Lender or any parent, subsidiary or Affiliate of Lender of any equity
    interest any of them may acquire (directly or indirectly) in Borrower, and Borrower hereby
    irrevocably waives the right to raise any defense or take any action on the basis of the foregoing
    with respect to Lender’s exercise of any such rights or remedies. No assignee of any of Lender’s
    rights with respect to the Loan or the Loan Documents shall be prejudiced or affected by the
    status of Lender or any such Affiliate of Lender as a member, partner, stockholder or other
    owner of Borrower or any Affiliate of Borrower or any actions taken or not taken by Lender or
    its Affiliates prior to the assignment to the then current Lender and upon any such assignment,
    such assignee shall be in the same position as if such assignee had originated the Loan itself as of
    the date of such assignment and shall not be subject to any offsets, counterclaims or defenses to
    which Lehman Brothers Holdings Inc. or any other Person which may from time to time be the
    “Lender” hereunder or their respective Affiliates might be subject. Borrower acknowledges that
    Lender and its Affiliates engage in the business of real estate financings and other real estate
    transactions and investments, which may be viewed as adverse to or competitive with the
    business of Borrower or its Affiliates.

r
                     Section 12.21 Limitation on Liabilie. Notwithstanding anything contained              r.


    herein to the contrary, Borrower agrees that none of Lender, Servicer or their agents or
    employees shall be liable to Borrower for any monetary damages (including any special,
    consequential or punitive damages whatsoever), whether in contract, tort (including negligence
    and strict liability) or any other legal or equitable principle (including without limitation, with
    respect to any acts of Lender pursuant to Section 12.26 hereof) and Borrower’s sole remedies
    shall be limited to commencing an action for specific performance.

                      Section 12.22 [Intentionally Reserved]

                    Section 12.23 Appointment of Servicer and Delegation of Lender Rights.
    Borrower acknowledges and agrees that at the option of Lender, the Loan may be serviced by a
    servicerhustee (the “Servicer”) selected by Lender and Lender may delegate all or any portion
    of its responsibilities under this Agreement and the other Loan Documents to the Servicer
    pursuant to a servicing agreement between Lender and Servicer; provided, however, such
    delegation will not release Lender from any of its obligations under the Loan Documents.
    Borrower shall be responsible for paying to Servicer on each Payment Date a monthly servicing
    fee of 0.15% per annum of the then outstanding principal amount of the Loan. Borrower shall
    also be responsible for the payment of all out-of-pocket costs and expenses incurred by Servicer
    in connection with the Loan (including the review and approval of or consent to Leases and
    Condominium Documents and the negotiation of subordination, non-disturbance and attornment
    agreements, property inspections, casualty or condemnation matters or in connection with any
    Default or Event of Default). Any action or inaction taken by the Servicer pursuant to this
    Agreement and the Loan Documents shall be binding to the same extent as if taken by Lender,
    and Borrower shall be entitled to rely on all actions and directions given by Servicer with respect
    to all matters concerning the Loan and Loan Documents unless and until Borrower receive
    contrary written instructions from the Lender.



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               Section 12.24 Cross-Default. Borrower acknowledges that Lender has made the
Loan to Borrower upon the security of its interest in the Property. Borrower agrees that the
Security Instruments are and will be cross-defaulted with each other so that (i) an Event of
Default under any of the Security Instruments shall constitute an Event of Default under each of
the other Security Instruments which secure any of the Notes; and (ii) an Event of Default under
any Note or this Agreement shall constitute an Event of Default under each other Note and under
each Security Instrument.

                Section 12.25 Delay Outside Lender’s Control. Lender shall not be liable in
any way to Borrower or any third party for Lender’s failure to perform or delay in performing
under the Loan Documents (and Lender may suspend or terminate all or any portion of Lender’s
obligations under the Loan Documents) if such failure to perform or delay in performing results
directly or indirectly from, or is based upon, the action, inaction, or purported action, of any
Governmental Authority, or because of war, rebellion, insurrection, strike, lock-out, boycott or
blockage (whether presently in effect, announced or in the sole judgment of Lender deemed
probable), or from any Act of God or other cause or event beyond Lender’s control.



                                      3   [SIGNATURE PAGE FOLLOWS]




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                   IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
     duly executed by their duly authorized representatives, all as of the day and year first above
     written.

                                                                                                              \

                                                                                                                    J



                                                                              OWER, LLC, a Delaware




                                                    LENDER:

                                                    LEHMAN BROTRERS HOLDINGS INC., a
               .    -                               Delaware corporation (individually and as lead arranger
                                                    and administrative agent for itself and certain co-lenders)


                                                    By:
                                                    Name:
                                                    Title: Authorized Signatory




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     SIGNATURE FAOE TO MASTER CREDIT AGREEMENT
     LEGAL-US-E # 74780894 35267.00105
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              IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
duly executed by their duly authorized representatives, all as of the day and year first above
written.


                                              ~   BORROWER:

                                                  HALE AVENUE BORROWER, LLC, a Delaware
                                                  limited liability company


                                                  By:
                                                  Name: Alexander Gurevich
                                                  Title: Authorized Signatory




                                                  LENDER:

                                                  LEHMAN BROTHERS HOLDINGS INC., a
                                                  Delaware corporation (individually and as lead arranger



                                                  By:
                                                  Name:      Christopher McKenna
                                                  Title: Authorized Signatory




SIGNATURE PAGE TO MASTER CREDIT AGREEMENT
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                                           SCHEDULE I

                                                Definitions

              “Acceptable Accounting Principles” shall mean GAAP or such other accounting
methods or principles acceptable to Lender in Lender’s discretion from time to time.

               “Acceptable Counterparty” means any counterparty to an Interest Rate Cap
Agreement that has and shall maintain, until the expiration of the applicable Interest Rate Cap
Agreement, a long-term unsecured debt rating of not less than “AA-” by Standard & Poor’s
Rating Group, “Aa3” by Moody’s Investors Service, Inc. or an equivalent long-term unsecured
debt rating by any other Rating Agency.

                  “Access Laws” shall have the meaning set forth in Section 5.19.

                  “Acquisition Loan” shall have the meaning set forth in the Recitals of this
Agreement.

                “Acquisition Loan Documents” shall mean, collectively, this Agreement, the
Certificate of Sources and Uses, the Payment Direction Letter, the Acquisition Loan Note, the
Acquisition Loan Mortgage, the Assignment of Leases, the Assignment of Interest Rate Cap
Agreement, the Assignment of Agreements, the Environmental Indemnity, the Consent and
Recognition Agreements, the Guaranty of Recourse Obligations, all Uniform Commercial Code
financing statements filed in connection with the Acquisition Loan and all other documents
evidencing, securing or otherwise executed and/or delivered by one or more of the Borrower
Parties in connection with the Acquisition Loan.

              “Acquisition Loan Mortgage” shall have the meaning set forth in the Recitals of
this Agreement.

                  “Acquisition Loan Note” shall have the meaning set forth in the Recitals of this
Agreement.

                  “Additional Fee” shall mean $1 64,877.92;

              “Advance” shall mean any advance of the Loan made under the Project Loan
Agreement or this Agreement.

                 “Affiliate” shall mean as to any Person, (i) any Person that directly or indirectly
through one or more intermediaries controls or is controlled by or is under common control with
such Person, (ii) any Person (directly or indirectly) owning or controlling 10% or more of the
outstanding voting securities of or other ownership interests in such Person, (iii) any officer,
director, partner, employee or member (direct or indirect and no matter how remote) of such
Person, (iv) if the such Person is an individual, any entity for which such Person directly or
indirectly acts as an officer, director, partner, employee .or member, or (v) any entity in which
such Person (together with the members of his family if the Person in question is an individual)
owns, directly or indirectly through one or more intermediaries an interest in any class of stock
(or other beneficial interest in such entity) of 10% or more. Any reference in this Agreement to a


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    “Person and-an Affiliate” shall be deemed to refer to such Person and an Affiliate of such
    Person and any references in this Agreement to a “Person or an Affiliate” shall be deemed to
    refer to such Person or an Affiliate of such Person. As used in this Agreement, the term
    “control” means the possession, directly or indirectly, of the power to direct or cause the
    direction of the management and policy and/or policies of a Person, whether through ownership
    of voting securities or other ownership interests, by contract or otherwise.

                    “Affiliate Transaction” or “Affiliate Agreement” shall mean any contract,
    agreement or other arrangement between Borrower (or any other Person if such contract,
    agreement or other arrangement is in any way related to any Property) and any Borrower Party or
    any Affiliate of a Borrower Party or pursuant to which Borrower Party or any Affiliate of any
    Borrower Party or any constituent member, partner or stockholder of Borrower or any Borrower
    Party or any Affiliate of a Borrower Party (direct or indirect) will receive any benefit of any
    kind.

                      “Agent” shall have the meaning set forth in Section 8.2.1(a).

                      “ALTA” shall mean American Land Title Association, or any successor thereto.

                      “Annual Budget” shall have the meaning specified in Section 5.12.

                    “Approved Accounting Firm” shall mean (a) one of the accounting firms
    commonly known as a “Big Four” accounting firm or (b) any other certified public accounting
    firm acceptable to Lender in its discretion (provided, that Lender shall have the right to require,
    at any time, a “Big Four” accounting firm).
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                      “Approved Annual Budget” shall have the meaning set forth in Section 5.12.

                 “Architect” shall mean Ryback Architects, P.C., or such other architect as may be
    approved by Lender.

                  “Architect’s Contract” means that certain Preliminary Agreement, dated as of
    May 4,2006, by and between Borrower and Architect, or such other contract or agreement by
    and between Borrower and Architect as may be approved by Lender in accordance with the
    terms hereof.                                                                0



                      “Asbestos” shall have the meaning set forth in the Environmental Indemnity.

                      “Assignee” shall have the meaning set forth in Section 8.2.l(al.

                   “Assignment and Assumption Agreement” shall have the meaning set forth in
    Section 8.2.1(a).

                     “Assignment of Agreements” shall mean, with respect to the Property, that
    certain first priority Assignment of Agreements, Permits and Contracts dated as of the date
    hereof, from Borrower, as assignors, to Lender, as assignee, assigning to Lender, subject to the
    terns thereof, all of Borrower’s interests in and to contracts, Licenses, permits and contracts



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        necessary for the use and operation of the Property as security for the Loan, as the same may be
        amended, restated, replaced, supplemented or otherwise modified fiom time to time.

                        “Assignment of Interest Rate Cap Agreement’’ shall mean an Assignment of
        Interest Rate Cap Agreement by Borrower in favor of Lender, in form and substance reasonably
        satisfactory to Lender, with respect to any Interest Rate Cap Agreement obtained by Borrower in
        respect of the Loan.

                       “Assignment of Leases” shall mean that certain first priority Absolute
        Assignment of Leases and Rents, dated as of the date hereof, from Borrower, as assignor, to
        Lender, as assignee, assigning to Lender, subject to the terms thereof, all of Borrower’s interest
        in and to the Leases and Rents of Borrower’s Property as security for the Loan, as the same may
        be amended, restated, replaced, supplemented or otherwise modified from time to time.

                          “Award” shall have the meaning set forth in Section 6.1.3(b).

                          “Bankrupt Guarantor” shall have the meaning set forth in Section 9.4.

                       “Bankruptcy Code” shall mean Title 11 of the United States Code, as amended
        from time to time.

                       “Bankruptcy Laws” shall mean the Bankruptcy Code together with any existing
        or future law of any jurisdiction, domestic or foreign, relating to bankruptcy, insolvency,
        reorganization, conservatorship, arrangement, adjustment, winding-up, liquidation, dissolution,
        composition or other relief with respect to its debts or debtors.

                          “Borrower” shall have the meaning set forth in the preamble.

                         “Borrower Parties” shall mean the collective reference to the Borrower, any
        ’guarantor, indemnitor or surety of any of the Obligations and any other Person (other than
        Lender) that is a party to any of the Loan Documents, other than any Property Manager that is
         not an Affiliate of Borrower. Individually, each of the Borrower Parties may be referred to
        herein as a “Borrower Party”.

                       “Business Day” shall mean a day on which commercial banks are not authorized
        or required by law to close in the State of New York or in the State where the Property is located.

                          “Casualty” shall have the meaning set forth in Section 6.1.l(i).
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                        “Casualty/Condemnation Involuntary Prepayments” shall have the meaning
        set forth in Section 2.2.

                     “Certificate of Sources and Uses of Funds’’ shall mean the Certificate of
        Sources and Uses of Funds delivered to Lender in connection with the Loan.

                          “Closing Date” shall mean the date of the initial funding of the Loan.
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              “Code” shall mean the Internal Revenue Code of 1986, as amended, and as it may
be further amended from time to time, any successor statutes thereto, and applicable U.S.
Department of Treasury regulations issued pursuant thereto in temporary or final form.

                “Committed Amount” shall mean the maximum amount each Lender has agreed
to lend at any one time outstanding to Borrower as part of the Loan and set forth in the
Syndication Documents.

                  “Condemnation” shall have the meaning set forth in Section 6.1.3(a).

            “Condemnation Proceeds” shall mean any Award in respect of any
Condemnation.

              Tondominium” shall have the meaning ascribed to such term in the Recitals to
this Agreement.

               “Consent and Recognition Agreement” shall mean any consent to assignment of
agreement and estopgel and recognition agreement, in form and substance acceptable to Lender,
executed by any architect, engineer, general contractor, construction manager, subcontractor or
any other Person performing labor, services or materials in respect of the Project.

                “Construction Contract” shall mean every contract entered into by or among
Borrower, the general contractor or construction manager, as applicable, subcontractors,
materialmen, the Architect, and the inspecting architect relating to the design and construction of
the Project or any portion thereof or providing material therefor or services related thereto.

               “Datedown Endorsement” shall mean any datedown endorsement to the
Building Loan Title Policy or the Project Loan Title Policy (as such terms are defined in the
Building Loan Agreement and Project Loan Agreement, respectively), covering Advances made
or to be made subsequent to the respective date thereof, as the case may be.

               “Debt” shall mean the agreeable outstanding principal amount set forth in, and
evidenced by, the Notes together with all interest accrued and unpaid thereon and all other sums
due to Lender in respect of the Loan under the Notes, this Agreement or any other Loan
Document.

              “Default” shall mean the occurrence of any event under this Agreement or under
any other Loan Document which, but for the giving of notice or the passage of time, or both,
would be an Eyent of Default.

                  “Default Rate” shall have the meaning set forth in the Note.

                  “Defaulting Lender” shall have the meaning set forth in Section 8.8.2.

                  “Embargoed Person” shall have the meaning set forth in Section 5.33(e).

                “Enforcement Costs” shall mean any and all expenses, including legal expenses,
attorneys’ fees and expert witness fees, (i) described in Section 7.4 of this Agreement,


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(ii) incurred or paid by Lender in protecting Lender’s interest in the Property, (iii) incurred in
collecting any amount payable under this Agreement or the other Loan Documents, or
(iv) incurred in enforcing Lender’s rights under this Agreement or the other Loan Documents or
with respect to the Property, in each of clauses (i) through (iv) whether or not any legal
proceeding is commenced hereunder or thereunder and whether or not any Default or Event of
Default shall have occurred and is continuing, together with interest thereon at the Default Rate
from the date paid or incurred by Lender until such amounts are repaid to Lender.

              “Engineer” shall mean The Office of James Ruderman, LLP, or such other
engineer as may be approved by Lender.

              “Engineer’s Contract” means that certain Agreement, dated as of July 18,2007,
by and between Borrower and Engineer, or such other contract or agreement by and between
Borrower and Engineer as may be approved by Lender in accordance with the terms hereof.

                “Environmental Indemnity” shall mean, collectively, (i) that certain
Environmental and Hazardous Substances Indemnification Agreement (Acquisition Loan), (ii)
that certain Environmental and Hazardous Substances Indemnification Agreement (Building
Loan), and (iii) that certain Environmental and Hazardous Substances Indemnification
Agreement (Project Loan), each dated as of the date hereof, executed by Borrower and Guarantor
in connection with the Loan for the benefit of Lender, as the same may be amended, restated,
replaced, supplemented or otherwise modified from time to time.

                  “Environmental Laws” shall have the meaning set forth in the Environmental
Indemnity.

                  “Equity Contribution” shall have the meaning set forth in Schedule I1 of this
Agreement.

                  “ERISA” shall mean the Employee Retirement Income Security Act of 1974, as
amended.

                  “Event of Default” shall have the meaning set forth in Section 7.1 (a).

                “Excusable Delay” shall mean any delay in the Construction of the
Improvements in accordance with the Plans and Specifications resulting from acts of God, fire,
earthquake, hurricane, flood, explosion, action of the elements, war, invasion, insurrection, riot,
mob violence, sabotage, malicious mischief or labor strikes, not within Borrower’s reasonable
control, (x) with respect to which Lender shall have been provided with written notice of the
occurrence thereof within five ( 5 ) days after Borrower obtaining knowledge thereof and
(y) which are supported by such evidence as Lender shall reasonably request.

                  “Executive Order” shall have the meaning set forth in Section 5.33(a).

                “Existing Violations Holdback, shall have the meaning ascribed to such term in
Section 2.1.1 (b).                           ,




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                 “Existing Violations Reserve” shall mean a deposit account controlled by
Lender.

                “Financial Statements” shall mean, with respect to Borrower and the Property, a
balance sheet, income statement and statement of changes in financial position prepared in
accordance with Acceptable Accounting Principles, and setting forth all items of income and
expense and such other information required under Acceptable Accounting Principles to fairly
present the financial position and results of operations of Borrower and the Property and which
shall at a minimum be consistent in scope, form and content with such statements delivered to
Lender prior to the Closing Date, unless otherwise agreed by Lender, and which are otherwise
reasonably acceptable to Lender.

              “Fiscal Year” shall mean each twelve-month period commencing on January 1
and ending on December 31 during the term of the Loan.

                  “Full Recourse Event” shall have the meaning set forth in Section 9.3.

                  “Funding Date” shall have the meaning set forth in Section 8.7.1.

              “GAAP” shall mean generally accepted accounting principles in the United States
of America as of the date of the applicable financial report, consistently applied.

                “Governmental Authority” shall mean any court, board, agency, commission,
office or authority of any nature whatsoever for any governmental unit (federal, state, county,
district, municipal, city or otherwise) whether now or hereafter in existence.

                “Guarantors” shall mean, collectively, Alexander Gurevich and each other
Person, if any, that after the Closing Date becomes a party to each or any of the Guaranty of
Recourse Obligations and the Environmental Indemnity.

               “Guaranty of Recourse Obligations” shall mean, collectively, (i) that certain
Guaranty of Recourse Obligations (Acquisition Loan), and (ii) that certain Guaranty of Recourse
Obligations (Project Loan), each executed by Guarantors, as the same may be amended, restated,
replaced, supplemented or otherwise modified from time to time.

                  “Hazardous Substances” shall have the meaning set forth in the Environmental
Indemnity.

                  “Improvements” shall have the meaning set forth in the Security Instruments.

                “Indebtedness” of a Person, at a particular date, means the sum (without
duplication) at such date of (a) all indebtedness or liability for borrowed money; (b) obligations
evidenced by bonds, debentures, notes, or other similar instruments; (c) obligations for the
deferred purchase price of property or services (including trade obligations); (d) obligations
under letters of credit; (e) obligations under acceptance facilities; (f) all guaranties, endorsements
(other than for collection or deposit in the ordinary course of business) and other contingent
obligations to purchase, to provide funds for payment, to supply funds, to invest in any Person,



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or otherwise to assure a creditor against loss; and (g) obligations secured by any Liens, whether
or not the obligations have been assumed.

                 “Indemnified Parties” shall mean (a) Lender, (b) any prior or subsequent owner
or holder of the Loan, (c) any Servicer or prior Servicer of the Loan, (d) any Investor or any prior
Investor, (e) any trustees, custodians or other fiduciaries who hold or who have held a full or
partial interest in the Loan for the benefit of any Investor or other third party, ( f ) any receiver or
other fiduciary appointed in a foreclosure or other proceeding, (g) any officers, directors,
shareholders, partners, members, employees, agents, servants, representatives, contractors,
subcontractors, affiliates or subsidiaries of any and all of the foregoing, and (h) the heirs, legal
representatives, successors and assigns of any and all of the foregoing (including any successors
by merger, consolidation or acquisition of all or a substantial portion of the Indemnified Parties’
assets and business), in all cases whether during the term of the Loan or thereafter or as part of or
following a foreclosure of the Loan.

                 “Independent” shall mean, when used with respect to any Person, a Person who
(a) is in fact independent, (b) does not have any direct financial interest in any Borrower Party,
or in any Affiliate of any Borrower Party or any Affiliate of any constituent partner, shareholder,
member or beneficiary of any Borrower Party (direct or indirect), and (c) is not connected with
any Borrower Party or any Affiliate of any Borrower Party or any Affiliate of any constituent
partner, shareholder, member or beneficiary of any Borrower Party (direct or indirect) as an
officer, employee, promoter, underwriter, trustee, partner, member, director or Person
performing similar functions. Whenever it is herein provided that any Independent Person’s .
opinion or certificate shall be provided, such opinion or certificate shall state that the Person
executing the same has read this definition and is Independent within the meaning thereof.

                  “Independent Manager” shall have the meaning set forth in Section 4.1 (s)(xxv).

                “Inspecting Architect” shall mean such person or persons as Lender may
designate from time to time to inspect the design and construction of the Pre-Development Work
and to perform other services with respect thereto on behalf of Lender, whether or not such
person is a licensed architect.

                  “Insurance Premiums” shall have the meaning set forth in Section 6.1.1(b).

               “Insurance Proceeds” shall mean all proceeds received under Policies required
to be maintained by Borrower.

                  “Interest Holdback’ shall have the meaning ascribed to such term in Section
2.1.l(b).

                  “Interest Period” shall have the meaning set forth in the Notes.

                “Interest Rate Cap Agreement” shall mean an Interest Rate Cap Agreement
(together with the confirmation and schedules relating thereto), in form and substance reasonably
acceptable to Lender, between an Acceptable Counterparty and Borrower, obtained by Borrower,
pursuant to Section 2.7. After delivery of a Replacement Interest Rate Cap Agreement to



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Lender, the term “Interest Rate Gap Agreement” shall be deemed to mean such Replacement
Interest Rate Cap Agreement.

                 “Interest Reserve” shall have’the meaning ascribed to such term in the Reserve
Agreement.

                 “Investor” shall have the meaning set forth in Section 8.1.1.

                 “Land” shall have the meaning set forth in the Security Instruments.

                 “Lease” shall mean any lease, occupancy agreement, sublease, sub-sublease,
letting, license, concession or other agreement (whether written or oral and whether now or
hereafter in effect) pursuant to which any Person is granted a possessory interest in, or right to
use or occupy all or any portion of, any space in the Property, and every modification,
amendment, assignment, termination, consent to assignment or other agreement relating to such
lease, sublease, sub-sublease or other agreement entered into in connection with such lease,
sublease, sub-sublease or other agreement and every guarantee of the performance and
observance of the covenants, conditions and agreements to be performed and observed by the
other party thereto.

                  “Lease Guaranty” shall have the meaning set forth in Section 5.15(b).

                  “Leasing Guidelines” shall mean the leasing guidelines set forth in Schedule V.

                “Legal Requirements” shall mean all federal, state, county, municipal and other
governmental statutes, laws, rules, orders, regulations, ordinances, judgments, decrees and
injunctions of Governmental Authorities affecting the Property or any part thereof or the
construction, use, alteration or operation thereof, or any part thereof, whether now or hereafter
enacted and in force, and all permits, Licenses and authorizations and regulations relating . . . .   rc
thereto, and all covenants, agreements, restrictions and encumbrances contained in agy
instruments, either of record or known to Borrower, at any time in force affecting the Property or
any part thereof, including (i) Access Laws, (ii) applicable restrictive covenants, zoning
ordinances and building codes, (iii) subdivision and land use laws and regulations, (iv) all
applicable health and Environmental Laws and regulations, and (v) all standards and regulations
of appropriate supervising boards of fire underwriters and similar agencies.

                  “Lehman” shall mean Lehman Brothers Holdings Inc., a Delaware corporation.

                “Lender” shall mean Lehman Brothers Holdings Inc., a Delaware corporation,
individually and as lead arranger and administrative agent for itself and certain co-lenders;
provided, however, with respect to the use of the term in Section 8.2, “Lender” shall mean each
lending institution that has entered into an Assignment and Assumption Agreement with Agent.

                  “Lender Default Obligation” shall have the meaning set forth in Section 8.8.2.

                  “LIBOR Rate” shall have the meaning set forth in the Notes.

                  “Licenses” shall have the meaning set forth in Section 4.1 (i).


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                     “Lien” shall mean any mortgage, deed of trust, lien, pledge, hypothecation,
    assignment, security interest, or any other encumbrance, charge or transfer of, on or affecting the
    Property or any portion thereof, or any interest of Borrower therein, including any conditional
    sale or other title retention agreement, any financing lease having substantially the same
    economic effect as any of the foregoing, the filing of any financing statement, and mechanic’s or
    materialmen’s liens and other similar liens and encumbrances.

                   “Loan” shall mean the loan made by Lender to Borrower in the original principal
    amount set forth in, and evidenced by, the Notes executed and delivered by Borrower.

                “Loan Agreements” shall mean, collectively, this Agreement and the Project
                  ,

    Loan Agreement.

                   “Loan Documents” shall mean, collectively, this Agreement, the Acquisition
    Loan Documents, the Project Loan Documents, the Certificate of Sources and Uses, the Payment
    Direction Letter, and all other documents evidencing, securing or otherwise executed andor
    delivered by one or more of the Borrower Parties in connection with the Loan, as each may be
    amended, restated, replaced or otherwise modified from time to time. Each of the Loan
    Documents may be referred to herein individually as a “Loan Document”.

                    “Losses” shall mean any and all claims, suits, liabilities (including strict and
    contingent liabilities), actions, proceedings, obligations, debts, damages, losses, costs (including
    any and all costs and expenses incurred in the preservation, restoration and protection of any of
    the Property and any and all costs and expenses incurred by Lender to remedy any Partial
    Recourse Event), any deficiency claim in connection with the foreclosure of any Security
    Instrument, expenses, diminution in value of any of the Property, fines, penalties, charges, fees,
    judgments, awards, amounts paid in settlement, consequential or punitive damages payable by
    Lender or any Indemnified Party, lost profits and damages, costs and expenses of whatever kind
    or nature (including but not limited to reasonable attorneys’ fees and other costs of defense),
\   including Enforcement Costs or any other amounts expended by Lender in connection with the
    Loan.

                   “Major Lease” shall mean, collectively, (a) any Lease to any Tenant, other than a
    residential Lease for a single apartment unit, demising premises in excess of 5,000 rentable
    square feet and (b) any Lease to any Tenant related to the operation of the parking garage located
    on the Property.

                  “Master Construction Contract” shall mean a general construction contract or
    construction management agreement, in form and substance acceptable to Lender, by and
    between Borrower and a general contractor or a construction manager, as applicable, acceptable
    to Lender.

                    “Material Adverse Change” shall mean a material adverse change in (i) the
    assets, operations, or financial condition of Borrower or the Person in question, (ii) the ability to
    pay the Debt of Borrower or the Person in question in accordance with the terms hereof and
    otherwise comply with the material terms of this Agreement and the Loan Documents, (iii) the
    Property or the value thereof, (iv) the validity, priority or enforceability of this Agreement or any


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other Loan Document, (v) the ability of Lender to enforce its rights and remedies pursuant to this
Agreement or any other Loan Documents, (vi) Lender’s Lien on the Property or the priority of
such Lien, or (vii) the Loan.

                “Material Adverse Effect” shall mean a material adverse effect on (i) the assets,
operations, or financial condition of Borrower or the Person in question, (ii) the ability to pay the
Debt of Borrower or the Person in question-in accordance with the terms hereof and otherwise
comply with the material terms of this Agreement and the Loan Documents, (iii) the Property or
the value thereof, (iv) the validity, priority or enforceability of this Agreement or any other Loan
Document, (v) the ability of Lender to enforce its rights and remedies pursuant to this Agreement
or any other Loan Documents, (vi) Lender’s Lien on the Property or the priority of such Lien, or
(vii) the Loan.

               “Material Agreement” means any agreement entered into by Borrower or any
other Borrower Party (i) affecting or relating to the Property (or any component thereof)
requiring the payment of more than $100,000 in payments or liability in any annual period or
which is not cancelable without penalty or premium on no more than thirty (30) days notice other
than the Management Agreements and the Leases or (ii) that relates to sale or leasing brokerage
with respect to any Property.
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                  “Maturity Date” shall have the meaning set forth in the respective Notes.

                “Maximum Permitted Trade Payables” shall mean unsecured trade payables
incurred in the ordinary course of operating the Property and customarily satisfied within thirty
(30) days in the aggregate amount for the Property not to exceed one percent (1%) of the Debt.

                “Minor Lease” shall mean any Lease (other than a Lease to a residential Tenant
for a single apartment unit) that is not a Major Lease.

                  “New Property Manager” shall have the meaning set forth in Section 5.17.

                  “Non-Bankrupt Guarantor” shall have the meaning set forth in Section 9.4.

                “Non-Consolidation Opinion” shall mean an opinion of counsel to the Person in
question (satisfactory to Lender in form and substance and from counsel satisfactory to Lender
and containing assumptions, limitations and qualifications customary for opinions of such type
and satisfactory to Lender) to the effect that a court of competent jurisdiction in a proceeding
under the Bankruptcy Code would not consolidate the assets and liabilities of such Person with
those of any other Person.

               “Notes” shall mean, collectively, the Acquisition Loan Note and the Project Loan
Note, as the same may be amended, restated, replaced, supplemented or otherwise modified from
time to time. Individually, each of the Notes shall sometimes be referred to as a “Note”.

               “Obligations” shall mean any and all debt, liabilities and other obligations of
Borrower, including all affirmative and negative covenants, to Lender or of any of the Borrower
Parties in connection with the Loan or pursuant to the Loan Documents, including, without
limiting the generality of the foregoing, the Debt.
                                      i


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                   “Officer’s Certificate’’ shall mean a certificate delivered to Lender by Borrower,
    which is signed by an authorized senior officer of the manager, managing member or general
    partner of Borrower on behalf of Borrower that is acceptable to Lender.

                    “Organizational Documents” shall mean (i) with respect to a corporation, such
    Person’s certificate of incorporation and by-laws, and any shareholder agreement, voting trust or
-   similar arrangement applicable to any of such Person’s authorized shares of capital stock,
    (ii) with respect to a partnership, such Person’s certificate of limited partnership, partnership
    agreement, voting trusts or similar arrangements applicable to any of its partnership interests,
    (iii) with respect to a limited liability company, such Person’s certificate of formation, limited
    liability company agreement or other document affecting the rights of holders of limited liability
    company interests, and (iv) any and all agreem,ents between any constituent member, partner or
    shareholder of Borrower, including any contribution agreement or indemnification agreements.
    In each case, “Organizational Documents” shall include any indemnity, contribution,
    shareholders or other agreement among any of the owners of the entity in question.

                      “Origination Fee” shall mean $164,877.92.

                    “Other Charges” shall mean all maintenance charges, charges or amounts
    payable under any reciprocal easement agreement, ground rents, impositions other than Taxes,
    and any other charges (including any charges, payments or amounts, for which the failure to pay
    may give rise to a Lien against the Property), including vault charges and license fees for the use
    of vaults, chutes and similar areas adjoining the Property, now or hereafter levied, incurred or
    assessed or imposed against the Property or any part thereof.

                      “Partial Recourse Event” shall have the meaning set forth in Section 9.2.

                      “Participant” shall have the meaning set forth in Section 8.2.1(a).

                      “Participations” shall have the meaning set forth in,Section 8.1.1.

                      “Patriot Act” shall have the meaning set forth in Section 5.33(a).

                    “Payment Date” shall mean the ninth (9th) day of each calendar month, or if
    such first day is not a Business Day, the immediately preceding Business Day.

                   “Payment Direction Letter” shall mean the Payment Direction Letter delivered
    to Lender in connection with the Loan.

                “Percentage” means with respect to each Lender, the percentage which its
    Committed Amount constitutes of the maximum amount of the Loan.

                   “Permitted Encumbrances” shall mean: (a) the Liens created by the Loan
    Documents, (b) all Liens, encumbrances and other matters disclosed in each Title Insurance
    Policy which have been approved by Lender and which do not in any event have a Material
    Adverse Effect, (c) Liens, if any, for Taxes imposed by any Governmental Authority not yet due
    or delinquent, and (d) statutory Liens for labor or materials securing sums not yet due and
    payable, provided the Borrower has given advance written notice of same to Lender.


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                “Permitted Transfers” shall mean a Transfer of any direct or indirect interest in
Borrower in connection with (i) transfers to immediate family members for estate planning
purposes, or (ii) transfers of up to forty-nine percent (49%) in any constituent member or partner,
in any case, which do not affect the management or control of Borrower by the Principal and
which otherwise comply with the requirements set forth in the Loan Documents, provided,
however, that in no case shall any Transfer which results in Alexander Gurevich (a) owning less
than an fifty-one percent (5 1%) indirect interest in Borrower or (b) no longer managing or
controlling Borrower, be deemed to be a Permitted Transfer.

               “Person” shall mean any individual, entity, corporation, partnership, limited
liability company, joint venture, estate, trust, unincorporated association, any federal, state,
county or municipal government or any bureau, department or agency thereof and any fiduciary
acting in such capacity on behalf of any of the foregoing.

                “Preliminary Plans and Specifications” shall have the same meaning as set
forth in Section 5.29(b).

               “Policies” or “Policy” shall have the respective meanings specified in
Section 6.1.1(b),      e




              “Pre-Development Budget” shall mean the final construction budget attached
hereto as Schedule VII.

               “Pre-Development Work’ shall have the meaning ascribed to such term in
Section 5.29 hereof.

               “Premises” shall have the meaning set forth in the granting clauses of the
Security Instruments.

                  “Principal” shall mean Alexander Gurevich.

                  “Prohibited-Person” shall have the meaning set forth in Section 5.33(b).

                  “Project” shall have the meaning set forth in the Recitals of this Agreement.

                  “Project Loan” shall have the meaning set forth in the Recitals of this
Agreement.

              “Project Loan Agreement” shall have the meaning set forth in the Recitals of
this Agreement.

                  “Project Loan Amount’’ shall have the meaning set forth in Section 2.1.1,

               “Project Loan Budget” shall mean the budget (which shall be a component of
the Pre-Development Budget) for a portion of the costs relating to the Pre-Development Work,
as the same may be modified, amended or supplemented from time to time in accordance with
the terms and conditions of the Project Loan Agreement.



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               “Project Loan Documents” shall mean, collectively, this Agreement, the Project
Loan Agreement, the Certificate of Sources and Uses, the Payment Direction Letter, the Project
Loan Note, the Project Loan Mortgage, the Assignment of Leases, the Assignment of Interest
Rate Cap Agreement, the Assignment of Agreements, the Environmental Indemnity, the Consent
and Recognition Agreements, the, Guaranty of Recourse Obligations, all Uniform Commercial
Code financing statements filed in connection with the Project Loan and all other documents
evidencing, securing or otherwise executed and/or delivered by one or more of the Borrower
Parties in connection with the Project Loan.

                  “Project Loan Mortgage” shall have the meaning set forth in the Recitals of this
Agreement.

                  “Project Loan Note” shall have the meaning set forth in the Recitals of this
Agreement.

                  “Property” shall have the meaning set forth in the granting clause of the Security
Instruments.

                “Property Management Agreement” shall mean any property management
agreement, construction management agreement, leasing agreement or any other agreement(s)
for similar or related services, each of which must be acceptable to Lender, entered into by and
between Borrower and a Property Manager, and pursuant to which such Property Manager is to
provide management and other services with respect to Borrower’s Property, as the same may be
amended, restated, replaced, supplemented or otherwise modified from time to time.

              “Property Manager” shall mean a property manager selected or approved by
Lender in accordance with this Agreement.

              “Purchase Agreement’’ shall mean the purchase agreement, contract of sale or
similar agreement pursuant to which-Borrower acquired the Property, together with all
amendments, modifications or supplements thereto and any other agreements between the seller
thereunder and any of the Borrower Parties or their Affiliates related thereto.

                  “Qualified Insurer” shall have the meaning set forth in Section 6.1.1(b).

                “Rating Agency” shall mean each of Standard & Poor’s Ratings Services, a
division of The McGraw-Hill Companies (S&P), Moody’s Investors Service, Inc., and Fitch,
Inc., or any other nationally-recognized statistical rating agency which has been approved by
Lender.

                  “Recourse Event” shall mean any Full Recourse Event or any Partial Recourse
Event.
                                                                                                  \


                  “Release” shall mean a discharge and satisfaction of the Lien of any Security
Instrument.

                “Rent(s)” shall mean all rents (including fixed minimum rent and percentage
rent), rent equivalents, moneys payable as damages or in lieu of rent or rent equivalents, royalties


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(including all oil and gas or other mineral royalties and bonuses), income, receivables, receipts,
expense reimbursements and recoveries (including all assignment fees, consent fees, surrender
fees, termination fees and the lessor’s share (or the share of any Affiliate of any Borrower Party)
of any profits from any Tenant subletting or assignment) from Tenants, revenues, deposits
(including security, utility and other deposits), accounts, cash, issues, fees, profits, charges for
services rendered, and other consideration of whatever form or nature received by or paid to or
for the account of or benefit of Borrower or its agents or employees from any and all sources
(including any Service Rights granted to any Person and any warrants, stock options or other
rights granted to Borrower or its Affiliates in connection with any Lease) whether or not arising
from or attributable to the Property or any part thereof, and proceeds, if any, from business
interruption or other loss of income insurance, together with all proceeds from the sale or other
disposition of the Leases and the right to receive and apply the Rents to the payment of the Debt
and all right, title and interest of Borrower., its successors and assigns therein and thereunder,
including all guarantees, letters of credit (including the proceeds thereof) and any other credit
support given by any guarantor in connection therewith, cash or securities deposited under the
Leases to secure the performance by the Tenants of their obligations thereunder and all rents,
additional rents, revenues, issues and profits (including all oil and gas or other mineral royalties
and bonuses) from the Premises and the Improvements whether paid or accruing before or after
the filing by or against Borrower of any petition for relief under the B d r u p t c y Code and all
proceeds from the sale or other disposition of the Leases and the right to receive and apply the
Rents to the payment of the Debt.

              “Replacement Interest Rate Cap Agreement” means an interest rate cap
agreement from an Acceptable Counterparty with terms substantially similar to the Interest Rate
Cap Agreement and on the then current standard ISDA form for such product.

                  “Required Lender Advance” shall have the meaning set forth in Section 8.7.1.

                “Reserve Agreement” means that certain Reserve and Security Agreement, dated
as of the date hereof, by and between Borrower and Lender, as the same may be amended,
                                                                                      <
restated, replaced or otherwise modified from time to time.

                               shall have the meaning set forth in Section 6.1.2(a).
                  ccRestorationyy

                 “Secondary Market Transaction” shall mean any transaction in which Lender
(i) sells the Loan, the Notes and the other Loan Documents to one or more Persons (including
any Investors) as a whole loan or a portion thereof, (ii) participates or syndicates the Loan to one
or more Investors, (iii) deposits the Loan (or a portion thereof), and the Loan Documents with a
trust, which trust may sell certificates to Investors evidencing an ownership interest in the trust
assets, including a Securitization, whether or not rated by a Rating Agency, (iv) otherwise sells
the Loan or interest therein to Investors, or (v) pledges the Loan or any rights thereunder as
collateral for any borrowing.

                  “Securities” shall have the meaning .set forth in Section 8.1.1.

                  “Securitization” shall have the meaning set forth in Section 8.1.1.




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               “Security Deposits” shall mean all security (whether cash, letter of credit or
otherwise) given to any Borrower or any agent or Person acting on behalf of Borrower in
connection with the Leases.

                “Security Instruments” shall mean the Acquisition Loan Mortgage and the
Project Loan Mortgage, as the same may be amended, restated, replaced, supplemented or
otherwise modified from time to time. Individually, each of the Security Instruments shall be
referred to as a “Security Instrument.”

                “Service Rights” shall mean any agreements, contracts, rights, licenses or other
interests of any type (whether exclusive or non-exclusive) granted or given to any Person to
provide any products or services to or for or with respect to the Property or any part thereof, any
Tenant or any occupants of the Property or any part thereof, including any of the same related to
telecommunications, internet products or services, including, but not limited to, personal
computer hardware and software, internet hardware and software, internet access services,
printers, video display systems, audio sound systems and communication telephonic devices, as
well as related and complementary products and services and any substitutes for, and items that
are a technological evolution of, any of the foregoing products.
          /
                  “Servicer” shall mean the servicer, if any, engaged by Lender with respect to the
Loan.

                  “Servicing Fees” shall mean all fees, costs and expenses payable to any Servicer.

                  “Severed Loan Documents” shall have the meaning set forth in Section 8.1.4.

                “Single Purpose Entity” shall mean an entity, other than an individual, that is
formed or organized solely for the purpose of holding, directly, an interest in Borrower, does not
engage in any business unrelated to the ownership of such interest, does not have any assets
other than those related to the ownership of such interest, has its own separate books and records
and its own accounts, and holds itself out as being an entity separate and apart from any other
entity, and whose Organizational Documents contain provisions substantively similar to those
contained in the Organizational Documents of the Borrower as of the date hereof relating to its
purpose and separateness, and the requirement for a springing member or, if such entity is not a
corporation, indirect, consent of an Independent Manager to the same types of transactions
specified in Section 4.1 (s)(xxv).

                  “SPE Member” shall mean a member of Borrower that is a Single Purpose
Entity.

                  “Strike Rate” shall mean a rate per annum equal to 5.50%.

                  “Subdivision Map” shall have the meaning set forth in Section 5.28.

               “Subsidiary” shall mean, as to any Person, any other Person of which at least a
majority of the outstanding voting stock or other ownership interests having by the terms thereof
ordinary voting power to elect a majority of the board of directors or similar body of such
corporation or other entity (irrespective of whether ‘ornot at the time stock of any other class or


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    classes of such corporation or other entity shall’or might have voting power by reason of the
    happening of any contingency) is at the time owned or controlled directly or indirectly by such
    Person or one or more of its Subsidiaries.

                    “Survey” shall mean the survey of the Property prepared by a suryeyor licensed
    in the state where the Property is located and satisfactory to Lender and the company or
    companies issuing the Title Insurance Policies, and containing a certification of such surveyor
    satisfactory to Lender.

                  “Syndication Documents” shall mean tbe collective reference to all co-lending
    agreements, participation agreements, intercreditor agreements or other agreements of any kind
    among the Lenders and/or Agent related to the Loan.

                      “Tax and Insurance Escrow Fund” shall have the meaning set forth in
    Section 6.2.

                    “Tax and Insurance Holdback’ shall have the meaning ascribed to such term in
    Section 2.1.1 (b).

                  “Tax and Insurance Reserve” shall have the meaning ascribed to such term in
    the Reserve Agreement.

                    “Taxes” shall mean all real estate and personal property taxes, assessments, water
    rates or sewer rents now or hereafter levied or assessed or imposed against the Property or any
    part thereof, including (a) any ad valorem real or tangible personal property taxes levied against
’   the Property or any part thereof and (b) any intangible personal property tax levied or imposed
    on Lender with respect to its ownership in the Loan.

                   “Tenant” shall mean each Person granted a possessory interest or right to use or
    occupy all or any portion of the Property pursuant to a Lease.

                      “Term” shall have the meaning set forth in Section 6.1.1 (a).

                  “Title Insurance Company” shall mean a title insurance company (or
    companies) or authorized agent (or agents) acceptable to Lender that issues the Title Insurance
    Policies.

                    “Title Insurance Policies” shall mean the ALTA (or equivalent if ALTA is not
    available in the state where the Property is located) loan title insurance policies (or mortgagee
    title insurance policy or policies acceptable to Lender) issued with respect to the Property and
    insuring Lender (in an amount satisfactory to Lender) of the validity and priority of the Liens of
    the Security Instruments, with all endorsements thereto as required by Lender.

                    “Transfer” shall mean any sale, assignment, conveyance, alienation, mortgage,
    encumbrance, pledge, hypothecation or other transfer, including any swap, derivative or other
    transaction shifting the risks and rewards of ownership, whether voluntary or involuntary.




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               “UCC” or “Uniform Commercial Code” shall mean the Uniform Commercial
Code as in effect in the applicable state or commonwealth in which the Property is located, as the
same may be amended from time to time.

               “UCC Financing Statement” shall mean a financing statement as defined by and
in accordance with the requirements of the Uniform Commercial Code including all original
financing statements or original fixture financing statements and any amendments, renewals,
continuations or assignments thereof evidencing a security interest granted to Lender.

               “Unit” shall mean an individual commercial or residential condominium unit to
be created in connection with Project.

             “WCR Advance Request” shall have the meaning ascribed to such term in the
Reserve Agreement”

                 “WCR Holdback’ shall have the meaning ascribed to such term in Section
2.1.1 (b).

             “Working Capital Reserve” shall have the meaning ascribed to such term in the
Reserve Agreement.




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                                                SCHEDULE II

                                             Conditions Precedent

                   Each of the following shall be satisfied by Borrower as a condition precedent to
    the making of the Loan, and shall represent continuing covenants of Borrower after the Closing
    Date.

                     (a)   Representations and Warranties; Compliance with Conditions. The
    representations and warranties of each Borrower Party contained in this Agreement and the other
    Loan Documents shall be true and correct in all material respects on and as of the Closing Date
    and no Material Adverse Change has occurred and no Default or Event of Default shall have
    occurred and be continuing; and Borrower Party shall be in compliance in all material respects
    with all terms and conditions set forth in this Agreement and in each other Loan Document on
    their part to be observed or performed. r

                      (b)      Delivery of Loan Documents; Title Insurance; Reports.

                            (i) Notes, Loan Agreements, Security Instruments, Assignments of
    Leases, Assignments of Agreements and other Loan Documents. Lender shall have received
    fiom Borrower fully executed (and acknowledged if required) counterparts of the Notes and all
    other Loan Documents and evidence that counterparts of the Security Instruments and the
    Assignments of Leases have been delivered to the Title Insurance Company for recording, so as
    to effectively create upon such recording valid and enforceable first, second and third priority
    Liens upon the Property, in favor of Lender, subject only to the Permitted Encumbrances.

                            (ii) UCCs. Lender shall have received from Borrower (i) such UCC
I   financing statements as Lender shall require, and such financing statements shall have been filed
    of record in the appropriate filing offices in each of the jurisdictions required by Lender or
    delivered to the Title Insurance Company for filing so as to effectively create upon such filing a
    valid and enforceable first, second and third priority Liens on the Property in favor of Lender,
    subject only to the Permitted Encumbrances and (ii) a list of the principal places of business, tax
    identification numbers, and doing business names for the Borrower and all other information as
    Lender may require to properly file such UCC financing statements, all certified by the
    Borrower.

                           (iii) Title Insurance. Lender shall have received the Title Insurance
    Policies dated as of the Closing Date, with co-insurance and/or reinsurance and direct access
    agreements acceptable to Lender. Such Title Insurance Policies shall (A) provide coverage in
    amounts satisfactory to Lender, (B) insure Lender that the Security Instruments create valid first,
    second and third, as applicable, Liens on the Property free and clear of all exceptions from
    coverage other than Permitted Encumbrances, (C) contain such endorsements and affirmative
    coverages as Lender may require and which are available in the state where the Property are
    located, (D) show good and marketable indefeasible fee simple title to the Property vested in the
    Borrower, (E) name Lender as the insured, and (F) contain no “creditors’ rights” exception.
    The Title Insurance Policies shall be assignable. Lender also shall have received evidence that
    all premiums in respect of the Title Insurance Policies have been paid. The Lender shall have


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  received satisfactory UCC financing statement, tax lien, judgment, bankruptcy, litigation and
  other Lien searches and reports conducted by a search firm acceptable to the Lender with respect
  to the Property and the Borrower Parties and all other relevant Persons, such searches to be
’ conducted in each of the locations as shall be required by Lender.

                          (iv) Surveys. Lender shall have received a current title survey for the
  Property, in form and substance satisfactory to Lender in its discretion, certified to the Title
  Insurance Company and Lender and their successors and assigns pursuant to a certification in the
  form and content satisfactory to Lender and prepared by a professional and properly licensed
  land surveyor satisfactory to Lender in accordance with the 1997 Minimum Standard Detail
  Requirements for ALTNACSM Land Title Surveys (or, if not available, the relevant state
  equivalent thereof). Each survey should meet the classification of an “Urban Survey” and, if
  available, the following additional items from the list of “Optional Survey Responsibilities and
  Specifications” (Table A) should be added to such survey: 2 , 3 , 4 , 6,7, 8 , 9 , 10, 11 and 13 or
  any other additional items required by Lender. Such survey shall reflect the same legal
  description contained in the Title Insurance Policies referred to above relating to the Property
  and shall include, among other things, metes and bounds descriptions of the real properties
  comprising the Property reasonably satisfactory to Lender, The surveyor’s seal shall be affixed
  to the survey and the surveyor shall provide certifications for the surveys in form and substance
  acceptable to Lender. The surveyor’s certifications shall include a statement that the Property is
  or is not in an area identified by the Federal Emergency Management Agency as an area having
  special flood hazards. In addition, the Survey shall meet the requirements of the New York
  Condominium Act.

                          (v) Insurance. Lender shall have received valid certificates of
  insurance for all Policies required hereunder or under any of the Loan Documents, and evidence
  of the payment of all premiums payable for the existing policy period, which shall not be less
  than one year from the Closing Date. Lender shall have received a flood hazard certificate in
  respect of the Property in form and substance satisfactory to Lender.

                        (vi) Zoning. Lender shall have received (a) evidence satisfactory to
  Lender that (1) the current zoning of the Property (without obtaining any variance) permits the
  construction of the Project and Improvements, and (2) all entitlements for the construction of the
  Project and Improvements have been obtained. Lender shall have also received evidence
  satisfactory to Lender that the Property is independent of any other real property for taxing
  purposes; and (b) a zoning opinion of counsel acceptable to Lender in its discretion.

                         (vii) Encumbrances. Borrower shall have taken or caused to be taken
                        4,

  such actions in such a manner so that Lender has a valid and perfected first, second and third
  priority Liens as of the Closing Date on the Property, subject only to applicable Permitted
  Encumbrances, and Lender shall have received satisfactory evidence thereof.
                                                     I   .




                  (c)    Delivery of Organizational Documents; Consents. Borrower shall have
  delivered or caused to be delivered to Lender certified copies of all Organizational Documents
  related to the Borrower and its direct and indirect members, including good standing certificates,
  qualifications to do business in the appropriate jurisdictions, resolutions authorizing the entering
  into of the Loan and incumbency certificates as may be requested by Lender. The Lender shall


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have received copies of all consents, Licenses and approvals, if any, required in connection with
the execution, delivery and performance by the Borrower and its members and the validity and
enforceability of the Loan Documents and such consents, Licenses and approvals shall be in full
force and effect. Lender shall have received a chart depicting the ownership structure of
Borrower, each constituent member of Borrower (including their respective ownership interests,
direct or indirect, and capital contributions), which chart shall identify each Person who owns or
controls, directly or indirectly, any such member of Borrower.

               (d)     Opinions of Borrower’s Counsel. Lender shall have received opinions of
counsel to the Borrower Parties (i) with respect to non-consolidation, including such Non-
Consolidation Opinions, as Lender or any Rating Agency may require; (ii) with respect to due
execution, authority, enforceability (including no usury) of the Loan Documents and such other
matters as Lender may require; and (iii) with respect to zoning, as Lender may require, all such
opinions to be in form, scope and substance satisfactory to Lender and Lender’s counsel.

               (e)    Budgets. Borrower shall have delivered, and Lender shall have approved,
the Final Project Budget.

                (0 Taxes, Insurance Premiums and Other Charges. Borrower shall have paid
all Taxes, Insurance Premiums and Other Charges relating to the Property which are due and
payable or in arrears, including (i) accrued but unpaid Insurance Premiums, (ii) currently due
Taxes (including any in arrears) relating to the Property, and (iii) currently due Other Charges
relating to the Property, which amounts may be funded .with proceeds of the Loan if such
proceeds are sufficient therefor and as set forth in the Certificate of Sources and Uses of Funds.

                  (g)      Intentionally Omitted.

                (h)     Payments. All payments, deposits or escrows required to be made or
established by the Borrower under this Agreement, and the other Loan Documents on or before
the Closing Date shall have been paid and Lender shall have received (i) a settlement statement
setting forth the disbursement of the Loan in form and content satisfactory to Lender and (ii) tax
and insurance bills for the two calendar years prior to the Closing Date.

                (i)    Third Party Reports. Lender shall have received a current seismic report,
if required by Lender (prepared by a specialist acceptable to Lender), MA1 appraisal report
(prepared in compliance with FIRREA) (provided that Lender may accept evidence of value
other than an MA1 appraisal report, as determined by Lender), and environmental property
condition report (Phase I environmental reports for each of the Property and, where
environmental consultants recommends, Phase 11 reports and/or further investigation or as
Lender otherwise determines are required); each addressed to Lender and in form and substance
satisfactory to Lender and dated within six (6) months of the Closing Date, or if approved by
Lender, if such third party reports that are not dated within six (6) months of the Closing Date
but are otherwise acceptable to Lender, Borrower have delivered a reliance letter to Lender
within six (6) months of the Closing Date that is in form and substance satisfactory to Lender.
An appraiser, engineer and environmental specialist, each satisfactory to Lender, shall perform
the appraisal and the structural engineering and environmental property condition reports.



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                a)     Financial Statements. Lender shall have received copies of certified or
 audited annual Financial Statements (or statements prepared in accordance with procedures
 agreed upon by Lender) for the Property for the preceding two Fiscal Years, to the extent
 available from the seller of the Property, prepared in accordance with Acceptable Accounting
 Principles and otherwise in form and content acceptable to Lender.

                 (k)      Payoff Letters; Assignments. Lender shall have received a true and
 correct copy of the payoff letters for all of the existing debt encumbering the Property. In
 addition, for all of the existing debt encumbering the Property which is to be assigned to Lender,
 if applicable, Lender shall have received the original promissory notes endorsed to the order of
 Lender, the original mortgages together with an original assignment thereof to Lender in form
 and substance acceptable to Lender and representations from the lender holding such existing
 debt as to the outstanding principal balance thereof, no defaults existing thereunder and such
 other matters as Lender may reasonably require.

                (1)    Rent Rolls. Lender shall have received rent rolls with respect to the
 Property (with Lease expiration’dates) as of the last full month prior to the Closing Date in form
 and content acceptable to Lender and certified by Borrower as being true, correct, complete and
 accurate.

                  (m) Leases, Contracts and Permits; Subordination. Lender shall have received
  copies of all Leases, permits and contracts related to the Property. Lender shall have received
  appropriate instruments acceptable to Lender subordinating all of the Leases affecting the
  Property and any other contractual agreements affecting the Property designated by Lender to the
  Security Instruments. Lender shall have received an agreement to attorn to Lender satisfactory
. to Lender from every Tenant under a Lease (either by separate instrument or pursuant to the
  terms of the Lease, as elected by Lender).

                    (n)      Origination Fee. Lender shall have received the Origination Fee.

                    (0)Costs. Borrower shall have paid all of Lender’s cost and expenses
 associated with the making of the Loan with respect to the Property, including all out-of-pocket
 due diligence expenses, the cost of all third party reports (such as but not limited to
 environmental, structural, appraisal and/or market study), legal fees and expenses, survey costs,
 title costs, etc.

              ’     (p)   Separate Lot. Lender shall have received evidence that the Property (x) is
  comprised of one (1) or more parcels which constitute a separate tax lot or lots and (y) does not
  constitute a portion of any other tax lot not a part of the Property.

                  (9)     UtilitiesParking. Lender shall have received evidence that all utility
  services (including utility letters) and parking required for the Property are available (which
  evidence may consist of the survey set forth in clause (c)(iv) above for the Property reflecting
  such utility services and parking).

                (r)     Standard Form Lease. Borrower shall have delivered to Lender for
  approval by Lender in Lender’s discretion, the standard lease form for of the Property.



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              (s)     Further Documents. Lender or its counsel shall have received such other
and hrther approvals, opinions, documents and information as Lender or its counsel may have
reasonably requested in form and substance satisfactory to Lender and its counsel.

               (t)    Purchase Documents. Borrower shall have delivered a true and correct
copy of the Purchase Agreements to Lender, together with all amendments and modifications
thereto and assignments in respect thereof and all documents, instruments and agreements
delivered pursuant thereto and a written certification by Borrower that all closing requirements
and conditions under such Purchase Agreements have been satisfied by the seller thereunder and
have not been waived.

                 (u)    Equity Contribution. Lender shall have received an Officer’s Certificate
and other reasonably satisfactory evidence (including invoices, cancelled checks, etc.) of capital
contributions by the Principal and all other direct or indirect owners of Borrower in an aggregate
amount not less than $8,750,000 (the “Equity Contribution”) of which no less than $3,000,000
shall be in the form of cash contributions (with the balance being comprised of imputed land
value attributable to the Property). No funds loaned to or borrowed by any Borrower Party shall
count towards the Equity Contribution nor shall any fees, commissions or other amounts paid to
any Affiliate of Borrower.




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                                              SCHEDULE I11

                                             Pending Litigation



                                                  'None.




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                                          SCHEDULE IV

                                         Disclosure Schedule



                                               None.




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                                                    SCHEDULE V

                                                  Leasing Guidelines

          A.        Minor Leases or Minor Lease Modifications.

                  (a)     Lender’s approval shall not be required for any Minor Leases or
  amendments, extensions, cancellations, terminations or modifications to Minor Leases
  (collectively, a “Minor LeaseModification”), if the Minor LeaseModification meets the
  following criteria (the “Minor Lease Leasing Criteria”):

                           (1)    The Minor LeaseModification is being entered into (i) with a
  Tenant on arms length terms (with no inducements, agreements or other transactions unrelated to
  the Property or Minor LeaseModification), (ii) for a fair market rental (taking into account the
. rental rate, the extent to which the Tenant will bear its pro rata share of operating expenses,
  escalations, pass throughs, tenant improvements and the term of the Minor LeaseModification)
  based on then existing market conditions and in a manner consistent with other first class
  buildings in the market area.
                                 -_
                        (2)               The Lease term, including all extension or renewal options shall
  not exceed ten (10) years.
                                                                                                     I




                        (3)     The Tenant under the Minor LeaseModification shall (i) be
  engaged in a reputable business and have good credit, (ii) have a reputable character, and (iii) not
  be engaged in any criminal or odious activity, all of the foregoing in accordance with the
  standards of a “reasonable institutional lender.”

                        (4)    Borrower may amend, cancel, terminate or modify any Minor
  Leasehlodification if Borrower is acting in a commercially reasonable manner and any fees
  charged and collected in connection therewith shall be deposited into a deposit account
  controlled by Lender.

                         (5)      The rights of the Tenant to assign the Minor LeaselModification or
  sublet any portion of the demised premises under the Minor LeaseModification (other than to
  Affiliates of the Tenant or purchasers of a majority of Tenant’s stock or assets) shall (i) be
  subject to the consent of the landlord, and (ii) provide that the Tenant shall remain primarily
  liable under the Minor LeaseModification.

                              (6)         The Minor LeaseModification shall not conflict with any existing
  Leases.

                         (7)      The Lease shall not contain any option to purchase the Property or
  any portion thereof, any right of first refusal or right of first ‘offerto lease or purchase the
  Property or any portion thereof, any right to terminate the lease term (except in the event of the
  destruction or taking of all or substantially all of the Property), any non-disturbance or similar
  recognition agreement or any other similar provisions which adversely affect the Property or
  which might adversely affect the rights of any holder of the Loan.



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                          (8)         The Lease shall comply with the terms of Section 5.15.

              (b)     If the Minor Leasehlodification contains any deviations from the Minor
Lease Leasing Criteria set forth above, then such deviations must be approved in writing by
Lender, which approval may be granted or withheld in Lender’s commercially reasonable
discretion.

        B.       Maior Leases or Maior Lease Modifications.

               Lender’s approval, which approval may be granted or withheld in Lender’s
commercially reasonable discretion, shall be required for any Major Lease or any amendments,
extensions, cancellations, terminations or modifications to a Major Lease.

        D.       Residential Leases.

                 Lender’s approval shall be required for any residential Leases.

        E.        Credit Support.

                 Borrower shall not alter, modify, amend, cancel or terminate any guaranty, letter
of credit, or other credit support with respect to any Lease without the prior written consent of
Lender if the Lease, or any modification thereof, would require Lender’s approval. Except as set
forth in a Lease previously approved by Lender, Borrower shall not consent to any assignment or
sublet of any Lease without the prior written consent of Lender i f the Lease, or any modification
thereof, would require Lender’s approval or if the assignment or sublet is to any Borrower, or an
Affiliate of Borrower.

        F.        SNDAs.

               Lender shall consider requests by or on behalf of the Borrower that Lender enter
into a subordination, non-disturbance and attornment agreement ‘withany Tenant (with respect to
Minor Leases, Major Leases or any existing commercial Leases), in Lender’s commercially
reasonable discretion, provided that the form of subordination, non-disturbance and attornment
agreement is reasonably acceptable to Lender. Lender may also require that any Tenant enter
into a subordination, non-disturbance and attornment agreement as a condition to approving any
proposed commercial Lease.

         G.       Lease Guaranties.

               Neither Borrower nor any Affiliate shall enter into any agreement guaranteeing or
agreeing to pay rent for any other space for a prospective Tenant, or enter into any similar
agreement without the prior written consent of Lender.

       H.      Capitalized Terms. All capitalized terms used in this Schedule IV and not
otherwise defined herein shall have the meaning set forth in the Loan Agreement.




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                                         SCHEDULE VI

                                      [Intentionally Reserved]




                                                            .    . ,




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                                         SCHEDULE VI1

                                      Pre-Development Budget


                                           [See attached.]




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                                              EXHIBIT A

                                      Chart of Ownership Structure



                                             [See attached.]




                                                  \




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                                             PART111
                                   After Motovich Redemption and
                                          Property Transfer




       Gurevich
       95%



                     2300
                     Cropse y
                     Ave 11,                     Cropsey

                     50.1%                       49.9%


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                                                (DE)




                                    Hale Avenue Holdco, LLC (DE)
                                      Future .Upper Tear Pledgor



                                  Hale Avenue Mezzanine, LLC (DE)
                                      Future Mezzanine Borrower



                                  Hale Avenue Borrower, LLC (DE)
                                         Mortgage Borrower




                                             PROPERTY
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                                           EXHIBIT B

                                        Existing Violations




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